                    Case
 Fill in this information      19-31335-bjh7
                          to identify your case:      Doc 1 Filed 04/17/19                  Entered 04/17/19 16:06:46                            Page 1 of 70
 United States Bankruptcy Court for the:

                 Northern District of Texas

 Case number (If known):                         Chapter you are filing under:
                                                 ✔
                                                 ❑         Chapter 7
                                                 ❑         Chapter 11
                                                 ❑         Chapter 12
                                                 ❑         Chapter 13                                                                           ❑Check if this is an
                                                                                                                                                     amended filing



Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                               12/17
The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint case—and in joint
cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer would be yes if either debtor owns
a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish between them. In joint cases, one of the
spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

 Part 1: Identify Yourself

                                              About Debtor 1:                                                  About Debtor 2 (Spouse Only in a Joint Case):
  1.   Your full name

       Write the name that is on your         Haji                                                              Gulbanoo
       government-issued picture              First name                                                       First name
       identification (for example, your      Bhoy                                                              H.
       driver’s license or passport).         Middle name                                                      Middle name

       Bring your picture identification to   Sharif                                                            Sharif
       your meeting with the trustee.         Last name                                                        Last name


                                              Suffix (Sr., Jr, II, III)                                         Suffix (Sr., Jr, II, III)




  2.   All other names you have used
       in the last 8 years
                                              First name                                                       First name
       Include your married or maiden
       names.                                 Middle name                                                      Middle name


                                              Last name                                                        Last name




                                              First name                                                       First name


                                              Middle name                                                      Middle name


                                              Last name                                                        Last name




  3.   Only the last 4 digits of your
                                              xxx - xx - 4        9       0   7                                xxx - xx - 9         8       9    3
       Social Security number or
       federal Individual Taxpayer            OR                                                               OR
       Identification number                  9xx - xx -                                                       9xx - xx -
       (ITIN)




Official Form 101                                              Voluntary Petition for Individuals Filing for Bankruptcy                                                page 1
 Debtor 1           Case
                      Haji 19-31335-bjh7
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 Debtor 2             Gulbanoo           H.                           Sharif                                             Case number (if known)
                      First Name         Middle Name                  Last Name




                                          About Debtor 1:                                                     About Debtor 2 (Spouse Only in a Joint Case):


  4.   Any business names and
       Employer Identification            ✔I have not used any business names or EINs.
                                          ❑                                                                   ✔I have not used any business names or EINs.
                                                                                                              ❑
       Numbers (EIN) you have used
       in the last 8 years

       Include trade names and doing      Business name                                                       Business name
       business as names

                                          Business name                                                       Business name


                                                       -                                                                   -
                                          EIN                                                                 EIN


                                                       -                                                                   -
                                          EIN                                                                 EIN




                                                                                                              If Debtor 2 lives at a different address:
  5.   Where you live
                                          448 Hayden Drive
                                          Number             Street                                           Number            Street




                                          Lewisville, TX 75067
                                          City                                     State     ZIP Code         City                                     State     ZIP Code

                                          Denton
                                          County                                                              County

                                          If your mailing address is different from the one above, fill If Debtor 2's mailing address is different from the one
                                          it in here. Note that the court will send any notices to you at above, fill it in here. Note that the court will send any notices
                                          this mailing address.                                           to you at this mailing address.


                                          Number             Street                                           Number            Street



                                          P.O. Box                                                            P.O. Box



                                          City                                     State     ZIP Code         City                                     State     ZIP Code




  6.   Why you are choosing this          Check one:                                                          Check one:
       district to file for bankruptcy
                                          ✔
                                          ❑      Over the last 180 days before filing this petition, I have   ✔
                                                                                                              ❑      Over the last 180 days before filing this petition, I have
                                                 lived in this district longer than in any other district.           lived in this district longer than in any other district.

                                          ❑      I have another reason. Explain.                              ❑      I have another reason. Explain.
                                                 (See 28 U.S.C. § 1408)                                              (See 28 U.S.C. § 1408)




Official Form 101                                          Voluntary Petition for Individuals Filing for Bankruptcy                                                          page 2
 Debtor 1           Case
                      Haji 19-31335-bjh7
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 Debtor 2             Gulbanoo           H.                       Sharif                                                Case number (if known)
                      First Name         Middle Name                  Last Name


 Part 2: Tell the Court About Your Bankruptcy Case


                                         Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy
  7.   The chapter of the Bankruptcy     (Form B2010)). Also, go to the top of page 1 and check the appropriate box.
       Code you are choosing to file
       under
                                         ✔
                                         ❑      Chapter 7
                                         ❑      Chapter 11
                                         ❑      Chapter 12
                                         ❑      Chapter 13




  8.   How you will pay the fee          ✔
                                         ❑    I will pay the entire fee when I file my petition. Please check with the clerk's office in your local court for more details
                                              about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier's check, or money
                                              order. If your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with
                                              a pre-printed address.

                                         ❑    I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals to Pay
                                              Your Filing Fee in Installments (Official Form 103A).

                                         ❑    I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may,
                                              but is not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line
                                              that applies to your family size and you are unable to pay the fee in installments). If you choose this option, you must fill
                                              out the Application to Have the Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.




                                         ✔ No.
                                         ❑
  9.   Have you filed for bankruptcy
       within the last 8 years?          ❑Yes.      District                                          When                          Case number
                                                                                                             MM / DD / YYYY

                                                    District                                          When                          Case number
                                                                                                             MM / DD / YYYY

                                                    District                                          When                          Case number
                                                                                                             MM / DD / YYYY



                                         ✔ No.
                                         ❑
  10. Are any bankruptcy cases
       pending or being filed by a       ❑Yes.      Debtor                                                                       Relationship to you
       spouse who is not filing this
       case with you, or by a business              District                                      When                           Case number, if known
       partner, or by an affiliate?                                                                      MM / DD / YYYY


                                                    Debtor                                                                       Relationship to you

                                                    District                                      When                           Case number, if known
                                                                                                         MM / DD / YYYY



                                         ✔
                                         ❑    No.    Go to line 12.
  11. Do you rent your residence?
                                         ❑    Yes. Has your landlord obtained an eviction judgment against you?

                                                     ❑   No. Go to line 12.

                                                     ❑   Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it as part
                                                         of this bankruptcy petition.




Official Form 101                                        Voluntary Petition for Individuals Filing for Bankruptcy                                                             page 3
 Debtor 1           Case
                      Haji 19-31335-bjh7
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 Debtor 2             Gulbanoo                H.                        Sharif                                            Case number (if known)
                      First Name              Middle Name                Last Name


 Part 3: Report About Any Businesses You Own as a Sole Proprietor

                                              ✔
                                              ❑    No. Go to Part 4.
  12. Are you a sole proprietor of any
      full- or part-time business?            ❑    Yes. Name and location of business

      A sole proprietorship is a business
      you operate as an individual, and is         Name of business, if any
      not a separate legal entity such as
      a corporation, partnership, or LLC.
                                                   Number           Street
      If you have more than one sole
      proprietorship, use a separate
      sheet and attach it to this petition.

                                                   City                                                       State        ZIP Code

                                                   Check the appropriate box to describe your business:

                                                   ❑      Health Care Business (as defined in 11 U.S.C. § 101(27A))

                                                   ❑      Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))

                                                   ❑      Stockbroker (as defined in 11 U.S.C. § 101(53A))

                                                   ❑      Commodity Broker (as defined in 11 U.S.C. § 101(6))

                                                   ❑      None of the above




                                     If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it can set appropriate
  13. Are you filing under Chapter 11deadlines. If you indicate that you are a small business debtor, you must attach your most recent balance sheet, statement of
      of the Bankruptcy Code and are operations, cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the procedure in
      you a small business debtor?   11 U.S.C. § 1116(1)(B).
      For a definition of small business      ✔
                                              ❑    No.        I am not filing under Chapter 11.
      debtor, see 11 U.S.C. § 101(51D).
                                              ❑    No.        I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the
                                                              Bankruptcy Code.

                                              ❑    Yes.       I am filing under Chapter 11 and I am a small business debtor according to the definition in the Bankruptcy
                                                              Code.


 Part 4: Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

                                              ✔
                                              ❑    No.
  14. Do you own or have any
      property that poses or is               ❑    Yes.     What is the hazard?
      alleged to pose a threat of
      imminent and identifiable
      hazard to public health or
      safety? Or do you own any
      property that needs immediate                         If immediate attention is needed, why is it needed?
      attention?

      For example, do you own
      perishable goods, or livestock that
      must be fed, or a building that                       Where is the property?
      needs urgent repairs?
                                                                                     Number          Street




                                                                                       City                                               State               ZIP Code




Official Form 101                                              Voluntary Petition for Individuals Filing for Bankruptcy                                                     page 4
 Debtor 1           Case
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 Debtor 2             Gulbanoo            H.                         Sharif                                              Case number (if known)
                      First Name           Middle Name                Last Name


 Part 5: Explain Your Efforts to Receive a Briefing About Credit Counseling


  15. Tell the court whether you          About Debtor 1:                                                       About Debtor 2 (Spouse Only in a Joint Case):
      have received a briefing
      about credit counseling.

      The law requires that you           You must check one:                                                   You must check one:
                                          ✔                                                                     ✔
      receive a briefing about credit
      counseling before you file for      ❑    I received a briefing from an approved credit counseling         ❑    I received a briefing from an approved credit counseling
      bankruptcy. You must truthfully          agency within the 180 before I filed this bankruptcy petition,        agency within the 180 before I filed this bankruptcy petition,
      check one of the following               and I received a certificate of completion.                           and I received a certificate of completion.
      choices. If you cannot do so, you        Attach a copy of the certificate and the payment plan, if             Attach a copy of the certificate and the payment plan, if
      are not eligible to file.                any, that you developed with the agency.                              any, that you developed with the agency.

      If you file anyway, the court can   ❑    I received a briefing from an approved credit counseling         ❑    I received a briefing from an approved credit counseling
      dismiss your case, you will lose         agency within the 180 days before I filed this bankruptcy             agency within the 180 days before I filed this bankruptcy
      whatever filing fee you paid, and        petition, but I do not have a certificate of completion.              petition, but I do not have a certificate of completion.
      your creditors can begin                 Within 14 days after you file this bankruptcy petition, you           Within 14 days after you file this bankruptcy petition, you
      collection activities again.             MUST file a copy of the certificate and payment plan, if              MUST file a copy of the certificate and payment plan, if
                                               any.                                                                  any.

                                          ❑    I certify that I asked for credit counseling services from an    ❑    I certify that I asked for credit counseling services from an
                                               approved agency, but was unable to obtain those services              approved agency, but was unable to obtain those services
                                               during the 7 days after I made my request, and exigent                during the 7 days after I made my request, and exigent
                                               circumstances merit a 30-day temporary waiver of the                  circumstances merit a 30-day temporary waiver of the
                                               requirement.                                                          requirement.
                                               To ask for a 30-day temporary waiver of the requirement,              To ask for a 30-day temporary waiver of the requirement,
                                               attach a separate sheet explaining what efforts you made              attach a separate sheet explaining what efforts you made
                                               to obtain the briefing, why you were unable to obtain it              to obtain the briefing, why you were unable to obtain it
                                               before you filed for bankruptcy, and what exigent                     before you filed for bankruptcy, and what exigent
                                               circumstances required you to file this case.                         circumstances required you to file this case.

                                               Your case may be dismissed if the court is dissatisfied               Your case may be dismissed if the court is dissatisfied
                                               with your reasons for not receiving a briefing before you             with your reasons for not receiving a briefing before you
                                               filed for bankruptcy.                                                 filed for bankruptcy.

                                               If the court is satisfied with your reasons, you must still           If the court is satisfied with your reasons, you must still
                                               receive a briefing within 30 days after you file.                     receive a briefing within 30 days after you file.
                                               You must file a certificate from the approved agency,                 You must file a certificate from the approved agency,
                                               along with a copy of the payment plan you developed, if               along with a copy of the payment plan you developed, if
                                               any. If you do not do so, your case may be dismissed.                 any. If you do not do so, your case may be dismissed.

                                               Any extension of the 30-day deadline is granted only for              Any extension of the 30-day deadline is granted only for
                                               cause and is limited to a maximum of 15 days.                         cause and is limited to a maximum of 15 days.

                                          ❑    I am not required to receive a briefing about credit             ❑    I am not required to receive a briefing about credit
                                               counseling because of:                                                counseling because of:
                                               ❑    Incapacity. I have a mental illness or a mental                  ❑    Incapacity. I have a mental illness or a mental
                                                                deficiency that makes me incapable                                    deficiency that makes me incapable
                                                                of realizing or making rational                                       of realizing or making rational
                                                                decisions about finances.                                             decisions about finances.
                                               ❑    Disability.   My physical disability causes me to                ❑    Disability.   My physical disability causes me to
                                                                  be unable to participate in a briefing                                be unable to participate in a briefing
                                                                  in person, by phone, or through the                                   in person, by phone, or through the
                                                                  internet, even after I reasonably tried                               internet, even after I reasonably tried
                                                                  to do so.                                                             to do so.
                                               ❑    Active duty. I am currently on active military duty in           ❑    Active duty. I am currently on active military duty in
                                                                 a military combat zone.                                               a military combat zone.

                                               If you believe you are not required to receive a briefing             If you believe you are not required to receive a briefing
                                               about credit counseling, you must file a motion for waiver            about credit counseling, you must file a motion for waiver
                                               of credit counseling with the court.                                  of credit counseling with the court.




Official Form 101                                           Voluntary Petition for Individuals Filing for Bankruptcy                                                              page 5
 Debtor 1           Case
                      Haji 19-31335-bjh7
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 Debtor 2             Gulbanoo               H.                         Sharif                                             Case number (if known)
                      First Name             Middle Name                Last Name


 Part 6: Answer These Questions for Reporting Purposes


                                             16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by
  16. What kind of debts do you                   an individual primarily for a personal, family, or household purpose.”
      have?
                                                    ❑    No. Go to line 16b.

                                                    ✔
                                                    ❑    Yes. Go to line 17.

                                             16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain money for a
                                                  business or investment or through the operation of the business or investment.

                                                    ❑    No. Go to line 16c.

                                                    ❑    Yes. Go to line 17.

                                             16c. State the type of debts you owe that are not consumer debts or business debts.



  17. Are you filing under Chapter 7?        ❑      No. I am not filing under Chapter 7. Go to line 18.

      Do you estimate that after any         ✔
                                             ❑      Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and administrative
      exempt property is excluded                        expenses are paid that funds will be available to distribute to unsecured creditors?
      and administrative expenses
      are paid that funds will be                           ✔
                                                            ❑     No
      available for distribution to
      unsecured creditors?                                  ❑     Yes

                                              ✔
                                              ❑     1-49 ❑ 50-99                     ❑    1,000-5,000 ❑ 5,001-10,000              ❑     25,001-50,000 ❑ 50,000-100,000
  18. How many creditors do you               ❑     100-199 ❑ 200-999                ❑    10,001-25,000                           ❑     More than 100,000
      estimate that you owe?

                                              ❑     $0-$50,000                        ❑     $1,000,001-$10 million                    ❑    $500,000,001-$1 billion
  19. How much do you estimate                ❑     $50,001-$100,000                  ❑     $10,000,001-$50 million                   ❑    $1,000,000,001-$10 billion
                                              ❑                                       ❑                                               ❑
      your assets to be worth?
                                                    $100,001-$500,000                       $50,000,001-$100 million                       $10,000,000,001-$50 billion
                                              ✔
                                              ❑     $500,001-$1 million               ❑     $100,000,001-$500 million                 ❑    More than $50 billion

                                              ❑     $0-$50,000                        ❑     $1,000,001-$10 million                    ❑    $500,000,001-$1 billion
  20. How much do you estimate                ❑     $50,001-$100,000                  ❑     $10,000,001-$50 million                   ❑    $1,000,000,001-$10 billion
      your liabilities to be?
                                              ✔
                                              ❑     $100,001-$500,000                 ❑     $50,000,001-$100 million                  ❑    $10,000,000,001-$50 billion
                                              ❑     $500,001-$1 million               ❑     $100,000,001-$500 million                 ❑    More than $50 billion

 Part 7: Sign Below


  For you                          I have examined this petition, and I declare under penalty of perjury that the information provided is true and correct.
                                   If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11, United States
                                   Code. I understand the relief available under each chapter, and I choose to proceed under Chapter 7.
                                   If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out this document, I have
                                   obtained and read the notice required by 11 U.S.C. § 342(b).
                                   I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.
                                   I understand making a false statement, concealing property, or obtaining money or property by fraud in connection with a bankruptcy case
                                   can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

                                     ✘ /s/ Haji Bhoy Sharif                                                   ✘ /s/ Gulbanoo H. Sharif
                                          Haji Bhoy Sharif, Debtor 1                                               Gulbanoo H. Sharif, Debtor 2
                                          Executed on 04/17/2019                                                   Executed on 04/17/2019
                                                          MM/ DD/ YYYY                                                             MM/ DD/ YYYY




Official Form 101                                           Voluntary Petition for Individuals Filing for Bankruptcy                                                          page 6
 Debtor 1           Case
                      Haji 19-31335-bjh7
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 Debtor 2             Gulbanoo              H.                         Sharif                                             Case number (if known)
                      First Name            Middle Name                 Last Name



   For your attorney, if you are                 I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility to proceed
   represented by one                            under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under each chapter for
                                                 which the person is eligible. I also certify that I have delivered to the debtor(s) the notice required by 11 U.S.C. § 342(b) and,
   If you are not represented by an              in a case in which § 707(b)(4)(D) applies, certify that I have no knowledge after an inquiry that the information in the schedules
   attorney, you do not need to file this        filed with the petition is incorrect.
   page.

                                                 ✘ /s/ David Shuster                                                      Date 04/17/2019
                                                     David Shuster, Attorney                                                     MM / DD / YYYY




                                                      David Shuster
                                                     Printed name

                                                     Shuster Law, PLLC
                                                     Firm name

                                                     860 Hebron Pkwy 402
                                                     Number       Street



                                                     Lewisville                                                          TX       75057
                                                     City                                                                State    ZIP Code



                                                     Contact phone (972) 315-6222                                     Email address david@shusterlawfirm.com


                                                     24037491                                                            TX
                                                     Bar number                                                          State




Official Form 101                                            Voluntary Petition for Individuals Filing for Bankruptcy                                                       page 7
                      Case 19-31335-bjh7 Doc 1 Filed 04/17/19
 Fill in this information to identify your case and this filing:
                                                                                                                      Entered 04/17/19 16:06:46                                Page 8 of 70

  Debtor 1                          Haji                         Bhoy                       Sharif
                                   First Name                   Middle Name                Last Name

  Debtor 2                          Gulbanoo                     H.                         Sharif
  (Spouse, if filing)              First Name                   Middle Name                Last Name

  United States Bankruptcy Court for the:                                            Northern District of Texas
                                                                                                                                                                                   ❑   Check if this is an
  Case number                                                                                                                                                                          amended filing


Official Form 106A/B
Schedule A/B: Property                                                                                                                                                                                          12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you think it
fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more
space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


 Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

 1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?
      ❑ No. Go to Part 2.
      ✔ Yes. Where is the property?
      ❑
      1.1     448 Hayden Drive                                                What is the property? Check all that apply.                                  Do not deduct secured claims or exemptions. Put the
              Street address, if available, or other
              description
                                                                             ✔ Single-family home
                                                                             ❑                                                                             amount of any secured claims on Schedule D:
                                                                             ❑ Duplex or multi-unit building                                               Creditors Who Have Claims Secured by Property.
                                                                             ❑ Condominium or cooperative                                                Current value of the            Current value of the
                                                                             ❑ Manufactured or mobile home                                               entire property?                portion you own?
               Lewisville, TX 75067                                          ❑ Land                                                                                  $265,000.00                    $265,000.00
              City                               State        ZIP Code       ❑ Investment property
                                                                             ❑ Timeshare                                                                 Describe the nature of your ownership interest (such
                                                                                                                                                         as fee simple, tenancy by the entireties, or a life
               Denton
              County
                                                                             ❑ Other                                                                     estate), if known.
                                                                              Who has an interest in the property? Check one.
                                                                                                                                                           Homestead
                                                                             ❑ Debtor 1 only
                                                                             ❑ Debtor 2 only
                                                                             ✔ Debtor 1 and Debtor 2 only
                                                                             ❑                                                                            ✔ Check if this is community property
                                                                                                                                                          ❑
                                                                             ❑ At least one of the debtors and another
                                                                                                                                                              (see instructions)




    If you own or have more than one, list here:

      1.2                                                                     What is the property? Check all that apply.                                  Do not deduct secured claims or exemptions. Put the
              Street address, if available, or other
                                                                             ❑ Single-family home                                                          amount of any secured claims on Schedule D:
                                                                             ❑ Duplex or multi-unit building
              description
                                                                                                                                                           Creditors Who Have Claims Secured by Property.
                                                                             ❑ Condominium or cooperative                                                Current value of the            Current value of the
                                                                             ❑ Manufactured or mobile home                                               entire property?                portion you own?
              ,                                                              ❑ Land                                                                                    unknown                        unknown
              City                               State        ZIP Code       ❑ Investment property
                                                                             ❑ Timeshare                                                                 Describe the nature of your ownership interest (such
                                                                                                                                                         as fee simple, tenancy by the entireties, or a life
                                                                             ❑ Other                                                                     estate), if known.
              County
                                                                              Who has an interest in the property? Check one.
                                                                                                                                                           Homestead
                                                                             ❑ Debtor 1 only
                                                                             ❑ Debtor 2 only
                                                                             ✔ Debtor 1 and Debtor 2 only
                                                                             ❑                                                                            ✔ Check if this is community property
                                                                                                                                                          ❑
                                                                             ❑ At least one of the debtors and another
                                                                                                                                                              (see instructions)

 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages
    you have attached for Part 1. Write that number here.........................................................................................................                  ➜            $265,000.00




Official Form 106A/B                                                                                    Schedule A/B: Property                                                                         page 1
 Debtor 1             Case
                        Haji 19-31335-bjh7
                                      Bhoy Doc 1 Filed 04/17/19
                                                     Sharif                                                            Entered 04/17/19 16:06:46                               Page 9 of 70
 Debtor 2                   Gulbanoo                      H.                               Sharif                                                              Case number (if known)
                            First Name                    Middle Name                       Last Name




 Part 2: Describe Your Vehicles



 Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
 you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

 3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles
       ❑ No
       ✔ Yes
       ❑
       3.1 Make:                                   Nissan                    Who has an interest in the property? Check one.                                 Do not deduct secured claims or exemptions. Put the
                                                   Pathfinder                ❑ Debtor 1 only                                                                 amount of any secured claims on Schedule D:
            Model:
                                                                             ❑ Debtor 2 only                                                                 Creditors Who Have Claims Secured by Property.
                                                   2011                      ✔ Debtor 1 and Debtor 2 only
                                                                             ❑                                                                             Current value of the         Current value of the
                                                                             ❑ At least one of the debtors and another
            Year:
                                                   49750                                                                                                   entire property?             portion you own?
            Approximate mileage:                                                                                                                                        $10,000.00                  $10,000.00
            Other information:
                                                                             ✔ Check if this is community property (see
                                                                             ❑
                                                                                 instructions)




      If you own or have more than one, list here:

       3.2 Make:                                   Nissan                    Who has an interest in the property? Check one.                                 Do not deduct secured claims or exemptions. Put the
                                                   Altima                    ❑ Debtor 1 only                                                                 amount of any secured claims on Schedule D:
            Model:
                                                                             ❑ Debtor 2 only                                                                 Creditors Who Have Claims Secured by Property.
                                                   2014                      ✔ Debtor 1 and Debtor 2 only
                                                                             ❑                                                                             Current value of the         Current value of the
                                                                             ❑ At least one of the debtors and another
            Year:
                                                                                                                                                           entire property?             portion you own?
            Approximate mileage:                                                                                                                                        $12,000.00                  $12,000.00
            Other information:
                                                                             ✔ Check if this is community property (see
                                                                             ❑
                                                                                 instructions)




 4.     Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
        Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
        ✔ No
        ❑
        ❑ Yes
 5.    Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
       you have attached for Part 2. Write that number here.........................................................................................................                 ➜             $22,000.00




 Part 3: Describe Your Personal and Household Items

  Do you own or have any legal or equitable interest in any of the following items?                                                                                                     Current value of the
                                                                                                                                                                                        portion you own?
                                                                                                                                                                                        Do not deduct secured
                                                                                                                                                                                        claims or exemptions.

 6. Household goods and furnishings
       Examples:       Major appliances, furniture, linens, china, kitchenware

       ❑ No
       ✔ Yes. Describe........
       ❑
                                                See Attached.
                                                                                                                                                                                                      $7,350.00



Official Form 106A/B                                                                                     Schedule A/B: Property                                                                     page 2
 Debtor 1            Case
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 Debtor 2                   Gulbanoo                        H.                                Sharif                                                                Case number (if known)
                            First Name                      Middle Name                        Last Name



 7. Electronics
       Examples:        Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections;
                        electronic devices including cell phones, cameras, media players, games

       ❑ No
       ✔ Yes. Describe........
       ❑
                                                 Electronics                                                                                                                                           $1,750.00



 8.    Collectibles of value
       Examples:        Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
                        stamp, coin, or baseball card collections; other collections, memorabilia, collectibles

       ❑ No
       ✔ Yes. Describe........
       ❑
                                                 Books/Movies/Collectibles                                                                                                                               $50.00



 9. Equipment for sports and hobbies
       Examples:        Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks;
                        carpentry tools; musical instruments
       ✔ No
       ❑
       ❑ Yes. Describe........

 10.    Firearms
        Examples:         Pistols, rifles, shotguns, ammunition, and related equipment
        ✔ No
        ❑
        ❑ Yes. Describe........

 11.    Clothes
        Examples:         Everyday clothes, furs, leather coats, designer wear, shoes, accessories

        ❑ No
        ✔ Yes. Describe........
        ❑
                                                 Clothing                                                                                                                                              $2,000.00



 12.    Jewelry
        Examples:         Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver

        ❑ No
        ✔ Yes. Describe........
        ❑
                                                 Jewelry
                                                                                                                                                                                                       $2,500.00



 13.    Non-farm animals
        Examples:         Dogs, cats, birds, horses
        ✔ No
        ❑
        ❑ Yes. Describe........

 14.    Any other personal and household items you did not already list, including any health aids you did not list

        ✔ No
        ❑
        ❑ Yes. Describe........

 15.    Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
        for Part 3. Write that number here........................................................................................................................................➜               $13,650.00




Official Form 106A/B                                                                                        Schedule A/B: Property                                                                    page 3
 Debtor 1             Case
                        Haji19-31335-bjh7
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                              First Name                         Middle Name                            Last Name




 Part 4: Describe Your Financial Assets

  Do you own or have any legal or equitable interest in any of the following?                                                                                                                               Current value of the
                                                                                                                                                                                                            portion you own?
                                                                                                                                                                                                            Do not deduct secured
                                                                                                                                                                                                            claims or exemptions.


 16.   Cash
       Examples:           Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
       ✔ No
       ❑
       ❑ Yes........................................................................................................................................................   Cash..............


 17.   Deposits of money
       Examples:           Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other
                           similar institutions. If you have multiple accounts with the same institution, list each.

       ❑ No
       ✔ Yes..................
       ❑
                                                       Institution name:



 17.1. Checking account:                                Bank of America                                                                                                                     $100.00


 17.2. Checking account:                                Chase Bank                                                                                                                           $20.00


 17.3. Savings account:


 17.4. Savings account:


 17.5. Certificates of deposit:


 17.6. Other financial account:                         Xceed Credit Union                                                                                                                  $300.00


 17.7. Other financial account:


 17.8. Other financial account:


 17.9. Other financial account:


 18.   Bonds, mutual funds, or publicly traded stocks
       Examples:           Bond funds, investment accounts with brokerage firms, money market accounts
       ✔ No
       ❑
       ❑ Yes..................
 19.   Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
       an LLC, partnership, and joint venture

       ✔ No
       ❑
       ❑ Yes. Give specific
            information about
            them...................




Official Form 106A/B                                                                                                    Schedule A/B: Property                                                                          page 4
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 Debtor 2                 Gulbanoo                    H.                Sharif                                             Case number (if known)
                          First Name                  Middle Name        Last Name



 20.   Government and corporate bonds and other negotiable and non-negotiable instruments
       Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
       Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
       ✔ No
       ❑
       ❑ Yes. Give specific
            information about
            them...................

 21.   Retirement or pension accounts
       Examples:        Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans

       ❑ No
       ✔ Yes. List each account
       ❑
            separately.
 Type of account:                     Institution name:

 401(k) or similar plan:              Xerox                                                                                      $347,000.00


 Pension plan:                        Xerox                                                                                       $43,750.00

 22.   Security deposits and prepayments
       Your share of all unused deposits you have made so that you may continue service or use from a company
       Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or
       others
       ✔ No
       ❑
       ❑ Yes.....................
 23.   Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)

       ✔ No
       ❑
       ❑ Yes.....................
 24.   Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
       26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
       ✔ No
       ❑
       ❑ Yes.....................
 Institution name and description. Separately file the records of any interests. 11 U.S.C. § 521(c):

 25.   Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your
       benefit

       ✔ No
       ❑
       ❑ Yes. Give specific
            information about them....


 26.   Patents, copyrights, trademarks, trade secrets, and other intellectual property
       Examples:        Internet domain names, websites, proceeds from royalties and licensing agreements
       ✔ No
       ❑
       ❑ Yes. Give specific
            information about them....


 27.   Licenses, franchises, and other general intangibles
       Examples:        Building permits, exclusive licenses, cooperative association holdings, liquor licenses,
                        professional licenses
       ✔ No
       ❑
       ❑ Yes. Give specific
            information about them....


Official Form 106A/B                                                               Schedule A/B: Property                                                   page 5
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 Debtor 2              Gulbanoo                 H.                      Sharif                                               Case number (if known)
                       First Name               Middle Name              Last Name



Money or property owed to you?                                                                                                                           Current value of the
                                                                                                                                                         portion you own?
                                                                                                                                                         Do not deduct secured
                                                                                                                                                         claims or exemptions.


 28.   Tax refunds owed to you

       ✔ No
       ❑
       ❑ Yes.    Give specific information about                                                                                  Federal:
                 them, including whether you
                 already filed the returns and the                                                                              State:
                 tax years.......................
                                                                                                                                Local:



 29.   Family support
       Examples:     Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement

       ✔ No
       ❑
       ❑ Yes.    Give specific information..........
                                                                                                                                Alimony:

                                                                                                                                  Maintenance:

                                                                                                                                Support:

                                                                                                                                  Divorce settlement:

                                                                                                                                Property settlement:


 30.   Other amounts someone owes you
       Examples:     Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social
                     Security benefits; unpaid loans you made to someone else
       ✔ No
       ❑
       ❑ Yes.    Give specific information..........




 31.   Interests in insurance policies
       Examples:     Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
       ✔ No
       ❑
       ❑ Yes.    Name the insurance company
                                                           Company name:                                           Beneficiary:                         Surrender or refund value:
                 of each policy and list its value....

 32.   Any interest in property that is due you from someone who has died
       If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property
       because someone has died.
       ✔ No
       ❑
       ❑ Yes.    Give specific information..........




 33.   Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
       Examples:     Accidents, employment disputes, insurance claims, or rights to sue
       ✔ No
       ❑
       ❑ Yes.    Describe each claim................




Official Form 106A/B                                                               Schedule A/B: Property                                                              page 6
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                           First Name                      Middle Name                       Last Name



 34.   Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
       to set off claims

       ✔ No
       ❑
       ❑ Yes.       Describe each claim................




 35.   Any financial assets you did not already list

       ✔ No
       ❑
       ❑ Yes.       Give specific information..........




 36.   Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
       for Part 4. Write that number here..................................................................................................................................➜                         $391,170.00



 Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

 37.   Do you own or have any legal or equitable interest in any business-related property?
       ✔No. Go to Part 6.
       ❑
       ❑Yes. Go to line 38.
                                                                                                                                                                                           Current value of the
                                                                                                                                                                                           portion you own?
                                                                                                                                                                                           Do not deduct secured
                                                                                                                                                                                           claims or exemptions.

 38.   Accounts receivable or commissions you already earned

       ✔ No
       ❑
       ❑ Yes. Describe........

 39.   Office equipment, furnishings, and supplies
       Examples:         Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices

       ✔ No
       ❑
       ❑ Yes. Describe........

 40.   Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

       ✔ No
       ❑
       ❑ Yes. Describe........

 41.   Inventory

       ✔ No
       ❑
       ❑ Yes. Describe........

 42.   Interests in partnerships or joint ventures

       ✔ No
       ❑
       ❑ Yes. Describe........




Official Form 106A/B                                                                                       Schedule A/B: Property                                                                     page 7
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 Debtor 2                  Gulbanoo                       H.                                Sharif                                                                Case number (if known)
                           First Name                      Middle Name                       Last Name



 43.   Customer lists, mailing lists, or other compilations
       ✔ No
       ❑
       ❑ Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
               ✔ No
               ❑
               ❑ Yes. Describe........

 44.   Any business-related property you did not already list

       ✔ No
       ❑
       ❑ Yes. Give specific
            information.........

 45.   Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached
       for Part 5. Write that number here.................................................................................................................................➜                                $0.00



 Part 6: Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
         If you own or have an interest in farmland, list it in Part 1.

 46.   Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
       ✔No. Go to Part 7.
       ❑
       ❑Yes. Go to line 47.
                                                                                                                                                                                           Current value of the
                                                                                                                                                                                           portion you own?
                                                                                                                                                                                           Do not deduct secured
                                                                                                                                                                                           claims or exemptions.

 47.   Farm animals
       Examples:         Livestock, poultry, farm-raised fish
       ✔ No
       ❑
       ❑ Yes.........................

 48.   Crops—either growing or harvested

       ✔ No
       ❑
       ❑ Yes. Give specific
            information.............


 49.   Farm and fishing equipment, implements, machinery, fixtures, and tools of trade

       ✔ No
       ❑
       ❑ Yes..........................


 50.   Farm and fishing supplies, chemicals, and feed

       ✔ No
       ❑
       ❑ Yes..........................


 51.   Any farm- and commercial fishing-related property you did not already list

       ✔ No
       ❑
       ❑ Yes. Give specific
            information.............




Official Form 106A/B                                                                                       Schedule A/B: Property                                                                     page 8
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 Debtor 2                   Gulbanoo                         H.                                  Sharif                                                                  Case number (if known)
                            First Name                       Middle Name                          Last Name



 52.   Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached
       for Part 6. Write that number here...................................................................................................................................➜                               $0.00



 Part 7: Describe All Property You Own or Have an Interest in That You Did Not List Above


 53.   Do you have other property of any kind you did not already list?
       Examples:          Season tickets, country club membership
       ✔ No
       ❑
       ❑ Yes. Give specific
            information.............




 54.   Add the dollar value of all of your entries from Part 7. Write that number here.....................................................➜                                                                $0.00



 Part 8: List the Totals of Each Part of this Form

 55.   Part 1: Total real estate, line 2..........................................................................................................................................➜                  $265,000.00


 56.   Part 2: Total vehicles, line 5                                                                                        $22,000.00


 57.   Part 3: Total personal and household items, line 15                                                                   $13,650.00


 58.   Part 4: Total financial assets, line 36                                                                             $391,170.00


 59.   Part 5: Total business-related property, line 45                                                                              $0.00


 60.   Part 6: Total farm- and fishing-related property, line 52                                                                     $0.00


 61.   Part 7: Total other property not listed, line 54                                                +                             $0.00


 62.   Total personal property. Add lines 56 through 61..............                                                      $426,820.00              Copy personal property total➜          +      $426,820.00




 63.   Total of all property on Schedule A/B. Add line 55 + line 62.................................................................................................                                 $691,820.00




Official Form 106A/B                                                                                            Schedule A/B: Property                                                                  page 9
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 Debtor 1              Haji           Bhoy             Sharif
 Debtor 2              Gulbanoo       H.               Sharif                            Case number (if known)
                       First Name     Middle Name       Last Name



                                                    SCHEDULE A/B: PROPERTY
                                                          Continuation Page

 6. Household goods and furnishings
     Kitchen & Dining Room Furnishings                                                                                   $800.00
     Living Room Furnishings                                                                                            $3,500.00
     Bedroom (1) Furnishings                                                                                            $1,750.00
     Bedroom (2) Furnishings                                                                                             $700.00
     Bedroom (3) Furnishings                                                                                             $400.00
     Portable Appliances                                                                                                 $200.00




Official Form 106A/B                                            Schedule A/B: Property
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 Fill in this information to identify your case:

  Debtor 1                    Haji                 Bhoy                Sharif
                              First Name           Middle Name         Last Name

  Debtor 2                    Gulbanoo             H.                  Sharif
  (Spouse, if filing)         First Name           Middle Name         Last Name

  United States Bankruptcy Court for the:                         Northern District of Texas

  Case number                                                                                                                          ❑    Check if this is an
  (if known)                                                                                                                                amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                         04/19
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using the
property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is needed, fill out and
attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a specific dollar amount as
exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of any applicable statutory limit. Some
exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement funds—may be unlimited in dollar amount. However, if you
claim an exemption of 100% of fair market value under a law that limits the exemption to a particular dollar amount and the value of the property is determined to
exceed that amount, your exemption would be limited to the applicable statutory amount.


 Part 1: Identify the Property You Claim as Exempt

      Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
 1.
      ✔ You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
      ❑
      ❑ You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)
 2.   For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

 Brief description of the property and line on               Current value of the        Amount of the exemption you claim         Specific laws that allow exemption
 Schedule A/B that lists this property                       portion you own
                                                             Copy the value from         Check only one box for each exemption.
                                                             Schedule A/B

                                                                                         ✔
 Brief description:
 448 Hayden Drive Lewisville, TX 75067                                   $265,000.00
                                                                                         ❑                $178,069.00             Const. art. 16 §§ 50, 51, Texas Prop.
                                                                                         ❑    100% of fair market value, up to    Code §§ 41.001-.002
 Line from                                                                                    any applicable statutory limit
 Schedule A/B:          1.1


                                                                                         ✔
 Brief description:
 2011 Nissan Pathfinder                                                    $10,000.00
                                                                                         ❑                 $10,000.00             Tex. Prop. Code §§ 42.001(a),
                                                                                         ❑    100% of fair market value, up to    42.002(a)(9)
 Line from                                                                                    any applicable statutory limit
 Schedule A/B:          3.1


 3.   Are you claiming a homestead exemption of more than $170,350?
      (Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)
      ❑ No
      ✔ Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
      ❑
         ✔ No
         ❑
         ❑ Yes




Official Form 106C                                               Schedule C: The Property You Claim as Exempt                                                     page 1 of 2
 Debtor 1        Case
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 Debtor 2             Gulbanoo            H.                    Sharif                                           Case number (if known)
                      First Name          Middle Name            Last Name


 Part 2: Additional Page

 Brief description of the property and line on          Current value of the      Amount of the exemption you claim           Specific laws that allow exemption
 Schedule A/B that lists this property                  portion you own
                                                        Copy the value from       Check only one box for each exemption.
                                                        Schedule A/B

                                                                                  ✔
 Brief description:
 2014 Nissan Altima                                                 $12,000.00
                                                                                  ❑               $12,000.00                 Tex. Prop. Code §§ 42.001(a),
                                                                                  ❑   100% of fair market value, up to       42.002(a)(9)
 Line from                                                                            any applicable statutory limit
 Schedule A/B:        3.2


                                                                                  ✔
 Brief description:
 Electronics                                                         $1,750.00
                                                                                  ❑                $1,750.00                 Tex. Prop. Code §§ 42.001(a),
                                                                                  ❑   100% of fair market value, up to       42.002(a)(1)
 Line from                                                                            any applicable statutory limit
 Schedule A/B:         7


                                                                                  ✔
 Brief description:
 Books/Movies/Collectibles                                               $50.00
                                                                                  ❑                 $50.00                   Tex. Prop. Code §§ 42.001(a),
                                                                                  ❑   100% of fair market value, up to       42.002(a)(1)
 Line from                                                                            any applicable statutory limit
 Schedule A/B:         8


                                                                                  ✔
 Brief description:
 Clothing                                                            $2,000.00
                                                                                  ❑                $2,000.00                 Tex. Prop. Code §§ 42.001(a),
                                                                                  ❑   100% of fair market value, up to       42.002(a)(5)
 Line from                                                                            any applicable statutory limit
 Schedule A/B:        11


                                                                                  ✔
 Brief description:
 Jewelry                                                             $2,500.00
                                                                                  ❑                $2,500.00                 Tex. Prop. Code §§ 42.001(a),
                                                                                  ❑   100% of fair market value, up to       42.002(a)(6)
 Line from                                                                            any applicable statutory limit
 Schedule A/B:        12


                                                                                  ✔
 Brief description:
 Xerox                                                             $347,000.00
                                                                                  ❑              $347,000.00                 Tex. Prop. Code § 42.0021
                                                                                  ❑   100% of fair market value, up to
 Line from                                                                            any applicable statutory limit
 Schedule A/B:        21


                                                                                  ✔
 Brief description:
 Xerox                                                              $43,750.00
                                                                                  ❑               $43,750.00                 Tex. Prop. Code § 42.0021
                                                                                  ❑   100% of fair market value, up to
 Line from                                                                            any applicable statutory limit
 Schedule A/B:        21




Official Form 106C                                        Schedule C: The Property You Claim as Exempt                                                       page 2 of 2
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 Fill in this information to identify your case:
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  Debtor 1                       Haji                    Bhoy                   Sharif
                                 First Name          Middle Name               Last Name

  Debtor 2                       Gulbanoo                H.                     Sharif
  (Spouse, if filing)            First Name          Middle Name               Last Name

  United States Bankruptcy Court for the:                                 Northern District of Texas

  Case number                                                                                                                                            ❑    Check if this is an
  (if known)                                                                                                                                                  amended filing


Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                                             12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case number (if
known).
1. Do any creditors have claims secured by your property?
      ❑No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
      ✔Yes. Fill in all of the information below.
      ❑
 Part 1: List All Secured Claims

 2.     List all secured claims. If a creditor has more than one secured claim, list the creditor separately for             Column A               Column B              Column C
        each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As much            Amount of claim        Value of collateral   Unsecured
        as possible, list the claims in alphabetical order according to the creditor’s name.                                 Do not deduct the      that supports         portion
                                                                                                                             value of collateral.   this claim            If any
 2.1 Chase Mortgage                                           Describe the property that secures the claim:                          $86,931.00           $265,000.00                 $0.00
        Creditor's Name
                                                               448 Hayden Drive Lewisville, TX 75067
         Mail Code: OH4-7302
         PO Box 24696
        Number          Street
                                                              As of the date you file, the claim is: Check all that apply.

         Columbus, OH 43224-0696                              ❑Contingent
        City                        State     ZIP Code        ❑Unliquidated
        Who owes the debt? Check one.                         ❑Disputed
        ❑Debtor 1 only                                        Nature of lien. Check all that apply.
        ❑Debtor 2 only                                        ❑An agreement you made (such as mortgage or
        ✔ Debtor 1 and Debtor 2 only
        ❑                                                        secured car loan)
        ❑At least one of the debtors and another              ❑Statutory lien (such as tax lien, mechanic's lien)
        ❑Check if this claim relates to a                     ❑Judgment lien from a lawsuit
           community debt
                                                              ❑Other (including a right to offset)
        Date debt was incurred
        10/1/2013                                             Last 4 digits of account number 7            3   4    3

         Remarks: Secured line of credit.



         Add the dollar value of your entries in Column A on this page. Write that number here:                                             $86,931.00




Official Form 106D                                              Schedule D: Creditors Who Have Claims Secured by Property                                                     page 1 of 2
 Debtor 1        Case
                   Haji19-31335-bjh7
                                 Bhoy Doc 1 FiledSharif
                                                  04/17/19                                  Entered 04/17/19 16:06:46                          Page 21 of 70
 Debtor 2                Gulbanoo           H.                        Sharif                                                Case number (if known)
                         First Name         Middle Name               Last Name


                                                                                                                    Column A                Column B              Column C
                Additional Page
                                                                                                                    Amount of claim         Value of collateral   Unsecured
  Part 1:       After listing any entries on this page, number them beginning with                                  Do not deduct the       that supports         portion
                2.3, followed by 2.4, and so forth.                                                                 value of collateral.    this claim            If any



 2.2                                                 Describe the property that secures the claim:
       Creditor's Name


       Number        Street
                                                     As of the date you file, the claim is: Check all that apply.

       City                      State   ZIP Code    ❑Contingent
       Who owes the debt? Check one.                 ❑Unliquidated
       ❑Debtor 1 only                                ❑Disputed
       ❑Debtor 2 only                                Nature of lien. Check all that apply.
       ❑Debtor 1 and Debtor 2 only                   ❑An agreement you made (such as mortgage or
       ❑At least one of the debtors and another         secured car loan)

       ❑Check if this claim relates to a             ❑Statutory lien (such as tax lien, mechanic's lien)
          community debt                             ❑Judgment lien from a lawsuit
       Date debt was incurred                        ❑Other (including a right to offset)
                                                     Last 4 digits of account number




       Add the dollar value of your entries in Column A on this page. Write that number here:                                              $0.00
       If this is the last page of your form, add the dollar value totals from all pages. Write that number                        $86,931.00
       here:




Official Form 106D                          Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                          page 2 of 2
                  Case 19-31335-bjh7 Doc 1 Filed 04/17/19
 Fill in this information to identify your case:
                                                                                         Entered 04/17/19 16:06:46                        Page 22 of 70

  Debtor 1                   Haji                  Bhoy                Sharif
                             First Name            Middle Name        Last Name

  Debtor 2                   Gulbanoo              H.                  Sharif
  (Spouse, if filing)        First Name            Middle Name        Last Name

  United States Bankruptcy Court for the:                        Northern District of Texas

  Case number                                                                                                                               ❑    Check if this is an
  (if known)                                                                                                                                     amended filing


Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                          12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in Schedule
D: Creditors Who Hold Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach
the Continuation Page to this page. On the top of any additional pages, write your name and case number (if known).

 Part 1: List All of Your PRIORITY Unsecured Claims

  1. Do any creditors have priority unsecured claims against you?
     ✔ No. Go to Part 2.
     ❑
     ❑ Yes.
  2. List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed,
     identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As much as
     possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority unsecured claims, fill out the Continuation Page of
     Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
     (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                                  Total       Priority         Nonpriority
                                                                                                                                  claim       amount           amount

                                                                    Last 4 digits of account number
        Priority Creditor's Name
                                                                    When was the debt incurred?
        Number           Street                                     As of the date you file, the claim is: Check all that
                                                                    apply.
                                                                    ❑ Contingent
                                                                    ❑ Unliquidated
                                                                    ❑ Disputed
        City                               State   ZIP Code
        Who incurred the debt? Check one.
        ❑ Debtor 1 only                                             Type of PRIORITY unsecured claim:
        ❑ Debtor 2 only                                             ❑ Domestic support obligations
        ❑ Debtor 1 and Debtor 2 only                                ❑ Taxes and certain other debts you owe the
        ❑ At least one of the debtors and another                       government
        ❑ Check if this claim is for a community debt               ❑ Claims for death or person injury while you were
                                                                        intoxicated
        Is the claim subject to offset?                             ❑ Other. Specify
        ❑ No
        ❑ Yes




Official Form 106E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                        page 1 of 9
 Debtor 1          Case
                     Haji19-31335-bjh7
                                   Bhoy Doc 1 FiledSharif
                                                    04/17/19                                Entered 04/17/19 16:06:46                        Page 23 of 70
 Debtor 2              Gulbanoo               H.                        Sharif                                             Case number (if known)
                       First Name              Middle Name              Last Name

 Part 2: List All of Your NONPRIORITY Unsecured Claims

  3. Do any creditors have nonpriority unsecured claims against you?
      ❑     No. You have nothing to report in this part. Submit this form to the court with your other schedules.
      ✔
      ❑     Yes.
  4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
     unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
     than one creditor holds a particular claim, list the other creditors in Part 3. If you have more than three nonpriority unsecured claims fill out the Continuation Page of
     Part 2.
                                                                                                                                                             Total claim

4.1     Amex                                                                      Last 4 digits of account number 5593                                               $19,222.00
        Nonpriority Creditor's Name
                                                                                  When was the debt incurred?          12/01/2005
        Correspondence/Bankruptcy
                                                                                  As of the date you file, the claim is: Check all that apply.
        PO Box 981540                                                             ❑ Contingent
                                                                                  ❑ Unliquidated
        Number           Street
        El Paso, TX 79998-1540
        City                              State     ZIP Code
                                                                                  ✔ Disputed
                                                                                  ❑
                                                                                  Type of NONPRIORITY unsecured claim:
                                                                                  ❑ Student loans
        Who incurred the debt? Check one.
        ❑ Debtor 1 only
                                                                                  ❑ Obligations arising out of a separation agreement or
        ❑ Debtor 2 only                                                               divorce that you did not report as priority claims
        ✔ Debtor 1 and Debtor 2 only
        ❑                                                                         ❑ Debts to pension or profit-sharing plans, and other
        ❑ At least one of the debtors and another                                     similar debts
        ❑ Check if this claim is for a community debt                             ✔ Other. Specify
                                                                                  ❑
                                                                                      CreditCard
        Is the claim subject to offset?
        ✔ No
        ❑
        ❑ Yes
4.2     Capital One                                                               Last 4 digits of account number 0300                                                      $53.00
        Nonpriority Creditor's Name
                                                                                  When was the debt incurred?          10/01/2015
        Attn: Bankruptcy
                                                                                  As of the date you file, the claim is: Check all that apply.
        PO Box 30285                                                              ❑ Contingent
                                                                                  ❑ Unliquidated
        Number           Street
        Salt Lake City, UT 84130-0285
        City                              State     ZIP Code
                                                                                  ✔ Disputed
                                                                                  ❑
                                                                                  Type of NONPRIORITY unsecured claim:
                                                                                  ❑ Student loans
        Who incurred the debt? Check one.
        ❑ Debtor 1 only
                                                                                  ❑ Obligations arising out of a separation agreement or
        ❑ Debtor 2 only                                                               divorce that you did not report as priority claims
        ✔ Debtor 1 and Debtor 2 only
        ❑                                                                         ❑ Debts to pension or profit-sharing plans, and other
        ❑ At least one of the debtors and another                                     similar debts
        ❑ Check if this claim is for a community debt                             ✔ Other. Specify
                                                                                  ❑
                                                                                      CreditCard
        Is the claim subject to offset?
        ✔ No
        ❑
        ❑ Yes




Official Form 106E/F                                            Schedule E/F: Creditors Who Have Unsecured Claims                                                          page 2 of 9
                    Case 19-31335-bjh7 Doc 1 Filed 04/17/19                            Entered 04/17/19 16:06:46                        Page 24 of 70
 Debtor 1              Haji                   Bhoy                  Sharif
 Debtor 2              Gulbanoo               H.                    Sharif                                            Case number (if known)
                       First Name             Middle Name           Last Name


 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                        Total claim


4.3     Cavalry Portfolio Services                                           Last 4 digits of account number 3943                                        $16,191.00
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?          09/01/2016
        ATTN: Bankruptcy Department 500 Summit Lake Ste 400
                                                                             As of the date you file, the claim is: Check all that apply.
       Number           Street
        Valhalla, NY 10595
                                                                             ❑   Contingent
       City                              State     ZIP Code                  ❑   Unliquidated
       Who incurred the debt? Check one.                                     ✔
                                                                             ❑   Disputed
       ✔
       ❑      Debtor 1 only                                                  Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                  ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                     ❑   Obligations arising out of a separation agreement or
                                                                                 divorce that you did not report as priority claims
       ❑
                                                                             ❑
              At least one of the debtors and another
                                                                                 Debts to pension or profit-sharing plans, and other
       ❑      Check if this claim is for a community debt                        similar debts
       Is the claim subject to offset?                                       ✔
                                                                             ❑   Other. Specify
       ✔
       ❑      No                                                                 Collecting for Citibank

       ❑   Yes
        Remarks: Collecting for Citibank. Law suit filed.
4.4     Chase Card Services                                                  Last 4 digits of account number 7591                                        $15,540.00
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?          04/01/1989
        Attn: Bankruptcy
                                                                             As of the date you file, the claim is: Check all that apply.
        PO Box 15298
       Number           Street
                                                                             ❑   Contingent

        Wilmington, DE 19850
                                                                             ❑   Unliquidated
       City                              State     ZIP Code                  ✔
                                                                             ❑   Disputed
       Who incurred the debt? Check one.                                     Type of NONPRIORITY unsecured claim:
       ❑      Debtor 1 only                                                  ❑   Student loans

       ❑      Debtor 2 only                                                  ❑   Obligations arising out of a separation agreement or
       ✔
       ❑
                                                                                 divorce that you did not report as priority claims
                                                                             ❑
              Debtor 1 and Debtor 2 only
                                                                                 Debts to pension or profit-sharing plans, and other
       ❑      At least one of the debtors and another                            similar debts
       ❑      Check if this claim is for a community debt                    ✔
                                                                             ❑   Other. Specify
                                                                                 CreditCard
       Is the claim subject to offset?
       ✔
       ❑      No
       ❑      Yes




Official Form 106E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                               page 3 of 9
                    Case 19-31335-bjh7 Doc 1 Filed 04/17/19                            Entered 04/17/19 16:06:46                        Page 25 of 70
 Debtor 1              Haji                   Bhoy                  Sharif
 Debtor 2              Gulbanoo               H.                    Sharif                                            Case number (if known)
                       First Name             Middle Name           Last Name


 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                        Total claim


4.5     Costco Go Anywhere Citicard                                          Last 4 digits of account number 5016                                             $209.00
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?          09/01/2011
        Citicorp Credit Services/Centralized Bankruptcy
                                                                             As of the date you file, the claim is: Check all that apply.
        PO Box 790040
       Number           Street
                                                                             ❑   Contingent

        St. Louis, MO 64195
                                                                             ❑   Unliquidated
       City                              State     ZIP Code                  ✔
                                                                             ❑   Disputed
       Who incurred the debt? Check one.                                     Type of NONPRIORITY unsecured claim:
       ✔
       ❑      Debtor 1 only                                                  ❑   Student loans

       ❑      Debtor 2 only                                                  ❑   Obligations arising out of a separation agreement or
                                                                                 divorce that you did not report as priority claims
       ❑
                                                                             ❑
              Debtor 1 and Debtor 2 only
                                                                                 Debts to pension or profit-sharing plans, and other
       ❑      At least one of the debtors and another                            similar debts
       ❑      Check if this claim is for a community debt                    ✔
                                                                             ❑   Other. Specify
                                                                                 CreditCard
       Is the claim subject to offset?
       ✔
       ❑      No
       ❑      Yes
4.6     Debt Management Servicing Center-DMSC Birmingham                     Last 4 digits of account number 0802                                         unknown
        Office
       Nonpriority Creditor's Name                                           When was the debt incurred?
        PO Box 83079                                                         As of the date you file, the claim is: Check all that apply.
       Number           Street                                               ❑   Contingent
        Birmingham , AL 35283                                                ❑   Unliquidated
                                                                             ❑
       City                              State     ZIP Code
                                                                                 Disputed
       Who incurred the debt? Check one.                                     Type of NONPRIORITY unsecured claim:
       ❑      Debtor 1 only                                                  ❑   Student loans
       ❑      Debtor 2 only                                                  ❑   Obligations arising out of a separation agreement or
       ✔
       ❑      Debtor 1 and Debtor 2 only                                         divorce that you did not report as priority claims
       ❑      At least one of the debtors and another                        ❑   Debts to pension or profit-sharing plans, and other
       ✔
       ❑                                                                         similar debts
              Check if this claim is for a community debt
                                                                             ✔
                                                                             ❑   Other. Specify
       Is the claim subject to offset?
       ✔
       ❑      No
       ❑   Yes
        Remarks: Wage Garnishment




Official Form 106E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                               page 4 of 9
                    Case 19-31335-bjh7 Doc 1 Filed 04/17/19                            Entered 04/17/19 16:06:46                        Page 26 of 70
 Debtor 1              Haji                   Bhoy                  Sharif
 Debtor 2              Gulbanoo               H.                    Sharif                                            Case number (if known)
                       First Name             Middle Name           Last Name


 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                        Total claim


4.7     Discover Financial                                                   Last 4 digits of account number 9600                                        $13,987.00
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?          12/01/1992
        Attn: Bankruptcy Department
                                                                             As of the date you file, the claim is: Check all that apply.
        PO Box 15316
       Number           Street
                                                                             ❑   Contingent

        Wilmington, DE 19850-5316
                                                                             ❑   Unliquidated
       City                              State     ZIP Code                  ✔
                                                                             ❑   Disputed
       Who incurred the debt? Check one.                                     Type of NONPRIORITY unsecured claim:
       ❑      Debtor 1 only                                                  ❑   Student loans

       ❑      Debtor 2 only                                                  ❑   Obligations arising out of a separation agreement or
       ✔
       ❑
                                                                                 divorce that you did not report as priority claims
                                                                             ❑
              Debtor 1 and Debtor 2 only
                                                                                 Debts to pension or profit-sharing plans, and other
       ❑      At least one of the debtors and another                            similar debts
       ❑      Check if this claim is for a community debt                    ✔
                                                                             ❑   Other. Specify
                                                                                 CreditCard
       Is the claim subject to offset?
       ✔
       ❑      No
       ❑      Yes
4.8     Frost Bank                                                           Last 4 digits of account number 9001                                        $27,992.00
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?          10/01/2013
        Po Box 1600
                                                                             As of the date you file, the claim is: Check all that apply.
       Number           Street
        San Antonio, TX 78296
                                                                             ❑   Contingent
       City                              State     ZIP Code                  ❑   Unliquidated
       Who incurred the debt? Check one.                                     ✔
                                                                             ❑   Disputed
       ❑      Debtor 1 only                                                  Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                  ❑   Student loans
       ✔
       ❑      Debtor 1 and Debtor 2 only                                     ❑   Obligations arising out of a separation agreement or
                                                                                 divorce that you did not report as priority claims
       ❑
                                                                             ❑
              At least one of the debtors and another
                                                                                 Debts to pension or profit-sharing plans, and other
       ❑      Check if this claim is for a community debt                        similar debts
       Is the claim subject to offset?                                       ✔
                                                                             ❑   Other. Specify
       ✔
       ❑      No                                                                 CheckCreditOrLineOfCredit

       ❑      Yes
4.9     Frost Bank                                                           Last 4 digits of account number 9001                                        $13,694.00
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?          10/01/2013
        Po Box 1600
                                                                             As of the date you file, the claim is: Check all that apply.
       Number           Street
        San Antonio, TX 78296
                                                                             ❑   Contingent
       City                              State     ZIP Code                  ❑   Unliquidated
       Who incurred the debt? Check one.                                     ✔
                                                                             ❑   Disputed
       ✔
       ❑      Debtor 1 only                                                  Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                  ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                     ❑   Obligations arising out of a separation agreement or
                                                                                 divorce that you did not report as priority claims
       ❑
                                                                             ❑
              At least one of the debtors and another
                                                                                 Debts to pension or profit-sharing plans, and other
       ❑      Check if this claim is for a community debt                        similar debts
       Is the claim subject to offset?                                       ✔
                                                                             ❑   Other. Specify
       ✔
       ❑      No                                                                 CheckCreditOrLineOfCredit

       ❑      Yes




Official Form 106E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                               page 5 of 9
                    Case 19-31335-bjh7 Doc 1 Filed 04/17/19                            Entered 04/17/19 16:06:46                        Page 27 of 70
 Debtor 1              Haji                   Bhoy                  Sharif
 Debtor 2              Gulbanoo               H.                    Sharif                                            Case number (if known)
                       First Name             Middle Name           Last Name


 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                        Total claim


4.10    Nelnet                                                               Last 4 digits of account number 3009                                         $8,060.00
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?          08/01/2006
        Attn: Claims
                                                                             As of the date you file, the claim is: Check all that apply.
        PO Box 82505
       Number           Street
                                                                             ❑   Contingent

        Lincoln, NE 68501-2505
                                                                             ❑   Unliquidated
       City                              State     ZIP Code                  ❑   Disputed
       Who incurred the debt? Check one.                                     Type of NONPRIORITY unsecured claim:
       ✔
       ❑      Debtor 1 only                                                  ❑   Student loans

       ❑      Debtor 2 only                                                  ❑   Obligations arising out of a separation agreement or
                                                                                 divorce that you did not report as priority claims
       ❑
                                                                             ❑
              Debtor 1 and Debtor 2 only
                                                                                 Debts to pension or profit-sharing plans, and other
       ❑      At least one of the debtors and another                            similar debts
       ❑      Check if this claim is for a community debt                    ✔
                                                                             ❑   Other. Specify
                                                                                 Educational
       Is the claim subject to offset?
       ✔
       ❑      No
       ❑      Yes
4.11    NPAS                                                                 Last 4 digits of account number 5345                                             $991.28
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?          07/23/2016
        PO BOX 99400
                                                                             As of the date you file, the claim is: Check all that apply.
                                                                             ❑   Contingent
       Number           Street
                                                                             ❑   Unliquidated
                                                                             ✔
        Louisville, KY 40269
       City                              State     ZIP Code                  ❑   Disputed
                                                                             Type of NONPRIORITY unsecured claim:
       Who incurred the debt? Check one.
       ❑      Debtor 1 only                                                  ❑   Student loans

       ❑      Debtor 2 only
                                                                             ❑   Obligations arising out of a separation agreement or
                                                                                 divorce that you did not report as priority claims
       ✔
       ❑      Debtor 1 and Debtor 2 only
                                                                             ❑   Debts to pension or profit-sharing plans, and other
       ❑      At least one of the debtors and another                            similar debts
       ✔
       ❑      Check if this claim is for a community debt                    ✔
                                                                             ❑   Other. Specify
       Is the claim subject to offset?
       ✔
       ❑      No
       ❑   Yes
        Remarks: Collecting for Medical City, Plano




Official Form 106E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                               page 6 of 9
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 Debtor 1              Haji                   Bhoy                  Sharif
 Debtor 2              Gulbanoo               H.                    Sharif                                            Case number (if known)
                       First Name             Middle Name           Last Name


 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                        Total claim


4.12    Regions Bankcard                                                     Last 4 digits of account number 0631                                         $6,361.00
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?          10/01/2013
        Attn: Bankruptcy
                                                                             As of the date you file, the claim is: Check all that apply.
        PO Box 830590
       Number           Street
                                                                             ❑   Contingent

        Birmingham, AL 35288
                                                                             ❑   Unliquidated
       City                              State     ZIP Code                  ✔
                                                                             ❑   Disputed
       Who incurred the debt? Check one.                                     Type of NONPRIORITY unsecured claim:
       ❑      Debtor 1 only                                                  ❑   Student loans

       ❑      Debtor 2 only                                                  ❑   Obligations arising out of a separation agreement or
       ✔
       ❑
                                                                                 divorce that you did not report as priority claims
                                                                             ❑
              Debtor 1 and Debtor 2 only
                                                                                 Debts to pension or profit-sharing plans, and other
       ❑      At least one of the debtors and another                            similar debts
       ❑      Check if this claim is for a community debt                    ✔
                                                                             ❑   Other. Specify
                                                                                 CreditCard
       Is the claim subject to offset?
       ✔
       ❑      No
       ❑      Yes
4.13    Synchrony Bank/Walmart                                               Last 4 digits of account number 7332                                              $36.00
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?          08/01/2017
        Attn: Bankruptcy
                                                                             As of the date you file, the claim is: Check all that apply.
        PO Box 965060
       Number           Street
                                                                             ❑   Contingent

        Orlando, FL 32896-5060
                                                                             ❑   Unliquidated
       City                              State     ZIP Code                  ✔
                                                                             ❑   Disputed
       Who incurred the debt? Check one.                                     Type of NONPRIORITY unsecured claim:
       ✔
       ❑      Debtor 1 only                                                  ❑   Student loans

       ❑      Debtor 2 only                                                  ❑   Obligations arising out of a separation agreement or
                                                                                 divorce that you did not report as priority claims
       ❑
                                                                             ❑
              Debtor 1 and Debtor 2 only
                                                                                 Debts to pension or profit-sharing plans, and other
       ❑      At least one of the debtors and another                            similar debts
       ❑      Check if this claim is for a community debt                    ✔
                                                                             ❑   Other. Specify
                                                                                 ChargeAccount
       Is the claim subject to offset?
       ✔
       ❑      No
       ❑      Yes
4.14    Wells Fargo Bank                                                     Last 4 digits of account number 2269                                        $13,353.00
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?          10/01/2013
        Attn: Bankruptcy Dept
                                                                             As of the date you file, the claim is: Check all that apply.
        PO Box 6429
       Number           Street
                                                                             ❑   Contingent

        Greenville, SC 29606
                                                                             ❑   Unliquidated
       City                              State     ZIP Code                  ✔
                                                                             ❑   Disputed
       Who incurred the debt? Check one.                                     Type of NONPRIORITY unsecured claim:
       ✔
       ❑      Debtor 1 only                                                  ❑   Student loans

       ❑      Debtor 2 only                                                  ❑   Obligations arising out of a separation agreement or
                                                                                 divorce that you did not report as priority claims
       ❑
                                                                             ❑
              Debtor 1 and Debtor 2 only
                                                                                 Debts to pension or profit-sharing plans, and other
       ❑      At least one of the debtors and another                            similar debts
       ❑      Check if this claim is for a community debt                    ✔
                                                                             ❑   Other. Specify
                                                                                 CreditCard
       Is the claim subject to offset?
       ✔
       ❑      No
       ❑      Yes



Official Form 106E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                               page 7 of 9
                    Case 19-31335-bjh7 Doc 1 Filed 04/17/19                            Entered 04/17/19 16:06:46                        Page 29 of 70
 Debtor 1              Haji                   Bhoy                  Sharif
 Debtor 2              Gulbanoo               H.                    Sharif                                            Case number (if known)
                       First Name             Middle Name           Last Name


 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                        Total claim


4.15    Wells Fargo Bank Ia N                                                Last 4 digits of account number 9597                                        $39,780.00
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?          10/23/2013
        Attn: Bankruptcy Dept
                                                                             As of the date you file, the claim is: Check all that apply.
        PO Box 6429
       Number           Street
                                                                             ❑   Contingent

        Greenville, SC 29606
                                                                             ❑   Unliquidated
       City                              State     ZIP Code                  ✔
                                                                             ❑   Disputed
       Who incurred the debt? Check one.                                     Type of NONPRIORITY unsecured claim:
       ❑      Debtor 1 only                                                  ❑   Student loans

       ❑      Debtor 2 only                                                  ❑   Obligations arising out of a separation agreement or
       ✔
       ❑
                                                                                 divorce that you did not report as priority claims
                                                                             ❑
              Debtor 1 and Debtor 2 only
                                                                                 Debts to pension or profit-sharing plans, and other
       ❑      At least one of the debtors and another                            similar debts
       ❑      Check if this claim is for a community debt                    ✔
                                                                             ❑   Other. Specify
                                                                                 CheckCreditOrLineOfCredit
       Is the claim subject to offset?
       ✔
       ❑      No
       ❑      Yes
4.16    Wells Fargo Bank Ia N                                                Last 4 digits of account number 8752                                        $39,780.00
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?          10/01/2013
        Attn: Bankruptcy Dept
                                                                             As of the date you file, the claim is: Check all that apply.
        PO Box 6429
       Number           Street
                                                                             ❑   Contingent

        Greenville, SC 29606
                                                                             ❑   Unliquidated
       City                              State     ZIP Code                  ✔
                                                                             ❑   Disputed
       Who incurred the debt? Check one.                                     Type of NONPRIORITY unsecured claim:
       ✔
       ❑      Debtor 1 only                                                  ❑   Student loans

       ❑      Debtor 2 only                                                  ❑   Obligations arising out of a separation agreement or
                                                                                 divorce that you did not report as priority claims
       ❑
                                                                             ❑
              Debtor 1 and Debtor 2 only
                                                                                 Debts to pension or profit-sharing plans, and other
       ❑      At least one of the debtors and another                            similar debts
       ❑      Check if this claim is for a community debt                    ✔
                                                                             ❑   Other. Specify
                                                                                 CheckCreditOrLineOfCredit
       Is the claim subject to offset?
       ✔
       ❑      No
       ❑      Yes




Official Form 106E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                               page 8 of 9
                Case 19-31335-bjh7 Doc 1 Filed 04/17/19                           Entered 04/17/19 16:06:46                    Page 30 of 70
 Debtor 1              Haji                 Bhoy                   Sharif
 Debtor 2              Gulbanoo             H.                     Sharif                                      Case number (if known)
                       First Name           Middle Name             Last Name

 Part 4: Add the Amounts for Each Type of Unsecured Claim

  6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
     type of unsecured claim.




                                                                                            Total claim


                   6a. Domestic support obligations                              6a.                               $0.00
 Total claims
 from Part 1       6b. Taxes and certain other debts you owe the                 6b.                               $0.00
                       government

                   6c. Claims for death or personal injury while you             6c.                               $0.00
                       were intoxicated

                   6d. Other. Add all other priority unsecured claims.           6d.   +                           $0.00
                       Write that amount here.

                   6e. Total. Add lines 6a through 6d.                           6e.                                $0.00




                                                                                            Total claim


                   6f. Student loans                                             6f.                               $0.00
 Total claims
 from Part 2       6g. Obligations arising out of a separation                   6g.                               $0.00
                       agreement or divorce that you did not report as
                       priority claims

                   6h. Debts to pension or profit-sharing plans, and             6h.                               $0.00
                       other similar debts

                   6i. Other. Add all other nonpriority unsecured claims.        6i.    +                    $215,249.28
                       Write that amount here.

                   6j. Total. Add lines 6f through 6i.                           6j.                          $215,249.28




Official Form 106E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                          page 9 of 9
                     Case 19-31335-bjh7 Doc 1 Filed 04/17/19
 Fill in this information to identify your case:
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     Debtor 1                   Haji                 Bhoy               Sharif
                                First Name           Middle Name        Last Name

     Debtor 2                   Gulbanoo             H.                 Sharif
     (Spouse, if filing)        First Name           Middle Name        Last Name

     United States Bankruptcy Court for the:                       Northern District of Texas

     Case number                                                                                                                             ❑    Check if this is an
     (if known)                                                                                                                                   amended filing


Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                                        12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any additional pages, write your name and case number (if
known).

 1.     Do you have any executory contracts or unexpired leases?
        ✔No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
        ❑
        ❑Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).
2.     List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for example, rent,
       vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and unexpired leases.



       Person or company with whom you have the contract or lease                               State what the contract or lease is for

2.1

        Name

        Number         Street

        City                                 State   ZIP Code

2.2

        Name

        Number         Street

        City                                 State   ZIP Code

2.3

        Name

        Number         Street

        City                                 State   ZIP Code

2.4

        Name

        Number         Street

        City                                 State   ZIP Code

2.5

        Name

        Number         Street

        City                                 State   ZIP Code



Official Form 106G                                              Schedule G: Executory Contracts and Unexpired Leases                                                    page 1 of 1
                      Case 19-31335-bjh7 Doc 1 Filed 04/17/19
 Fill in this information to identify your case:
                                                                                                Entered 04/17/19 16:06:46                   Page 32 of 70

  Debtor 1                        Haji                    Bhoy                 Sharif
                                 First Name              Middle Name          Last Name

  Debtor 2                        Gulbanoo                H.                   Sharif
  (Spouse, if filing)            First Name              Middle Name          Last Name

  United States Bankruptcy Court for the:                                 Northern District of Texas

  Case number                                                                                                                                 ❑     Check if this is an
  (if known)                                                                                                                                        amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                                                    12/15
Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people are filing together,
both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out, and number the entries in the boxes on
the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and case number (if known). Answer every question.

 1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
      ✔ No
      ❑
      ❑Yes
 2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include Arizona, California, Idaho,
    Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
      ❑No. Go to line 3.
      ✔Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
      ❑
        ✔ No
        ❑
        ❑Yes. In which community state or territory did you live?                                         . Fill in the name and current address of that person.


               Name

               Number          Street

               City                                   State    ZIP Code

 3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown in line 2 again as a
    codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official Form 106D), Schedule E/F (Official
    Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill out Column 2.

      Column 1: Your codebtor                                                                                   Column 2: The creditor to whom you owe the debt
                                                                                                                  Check all schedules that apply:
3.1                                                                                                               ❑Schedule D, line
      Name
                                                                                                                  ❑Schedule E/F, line
      Number          Street                                                                                      ❑Schedule G, line
      City                                    State     ZIP Code

Official Form 106H                                                                 Schedule H: Your Codebtors                                                             page 1 of 1
                  Case 19-31335-bjh7 Doc 1 Filed 04/17/19
 Fill in this information to identify your case:
                                                                                         Entered 04/17/19 16:06:46                       Page 33 of 70

  Debtor 1                   Haji                   Bhoy              Sharif
                             First Name            Middle Name       Last Name

  Debtor 2                   Gulbanoo               H.                Sharif
  (Spouse, if filing)        First Name            Middle Name       Last Name                                                   Check if this is:

  United States Bankruptcy Court for the:                        Northern District of Texas                                      ❑An amended filing
                                                                                                                                 ❑A supplement showing postpetition
  Case number                                                                                                                         chapter 13 income as of the following date:
  (if known)

                                                                                                                                      MM / DD / YYYY

Official Form 106I
Schedule I: Your Income                                                                                                                                                 12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for supplying correct
information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse. If you are separated and your
spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a separate sheet to this form. On the top of any
additional pages, write your name and case number (if known). Answer every question.


 Part 1: Describe Employment


 1. Fill in your employment
    information.                                                                 Debtor 1                                          Debtor 2 or non-filing spouse


     If you have more than one job,            Employment status           ✔Employed ❑Not Employed
                                                                           ❑                                                             ✔ Not Employed
                                                                                                                               ❑Employed ❑
     attach a separate page with
     information about additional              Occupation                  Analyst
     employers.
                                               Employer's name             Xerox Corporation
     Include part time, seasonal, or
     self-employed work.
                                               Employer's address          800 Phillips Road
     Occupation may include student                                         Number Street                                      Number Street
     or homemaker, if it applies.
                                                                           Bldg 205-99Z




                                                                           Webster, NY 14580
                                                                            City                     State    Zip Code         City                    State      Zip Code
                                               How long employed there? 20 years



 Part 2: Give Details About Monthly Income


     Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing spouse unless you
     are separated.
     If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need more space,
     attach a separate sheet to this form.

                                                                                                         For Debtor 1       For Debtor 2 or
                                                                                                                            non-filing spouse

 2. List monthly gross wages, salary, and commissions (before all payroll
    deductions.) If not paid monthly, calculate what the monthly wage would be.             2.               $6,075.56                      $0.00

 3. Estimate and list monthly overtime pay.                                                 3.   +               $0.00     +                $0.00


 4. Calculate gross income. Add line 2 + line 3.                                            4.               $6,075.56                      $0.00




Official Form 106I                                                             Schedule I: Your Income                                                                 page 1
 Debtor 1           Case
                      Haji19-31335-bjh7
                                    Bhoy Doc 1 FiledSharif
                                                     04/17/19                                                       Entered 04/17/19 16:06:46                 Page 34 of 70
 Debtor 2                   Gulbanoo                        H.                                 Sharif                                          Case number (if known)
                            First Name                      Middle Name                         Last Name


                                                                                                                                    For Debtor 1       For Debtor 2 or
                                                                                                                                                       non-filing spouse
      Copy line 4 here....................................................................................➔            4.              $6,075.56                   $0.00
 5.   List all payroll deductions:

      5a. Tax, Medicare, and Social Security deductions                                                                5a.              $800.32                    $0.00

      5b. Mandatory contributions for retirement plans                                                                 5b.                $0.00                    $0.00

      5c. Voluntary contributions for retirement plans                                                                 5c.              $482.12                    $0.00

      5d. Required repayments of retirement fund loans                                                                 5d.                $0.00                    $0.00

      5e. Insurance                                                                                                    5e.              $542.02                    $0.00

      5f. Domestic support obligations                                                                                 5f.              $791.28                    $0.00

      5g. Union dues                                                                                                   5g.                $0.00                    $0.00

      5h. Other deductions. Specify: See additional page                                                               5h.
                                                                                                                             +             $1.96       +           $0.00

 6.   Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g + 5h.                                      6.              $2,617.70                   $0.00
 7.   Calculate total monthly take-home pay. Subtract line 6 from line 4.                                              7.              $3,457.86                   $0.00
 8.   List all other income regularly received:

      8a. Net income from rental property and from operating a business,
          profession, or farm
            Attach a statement for each property and business showing gross receipts,
            ordinary and necessary business expenses, and the total monthly net income.
                                                                                                                       8a.                $0.00                    $0.00
      8b. Interest and dividends
                                                                                                                       8b.                $0.00                    $0.00
      8c. Family support payments that you, a non-filing spouse, or a dependent
          regularly receive
            Include alimony, spousal support, child support, maintenance, divorce
            settlement, and property settlement.                                                                       8c.                $0.00                    $0.00
      8d. Unemployment compensation                                                                                    8d.                $0.00                    $0.00
      8e. Social Security                                                                                              8e.                $0.00                  $995.86
      8f. Other government assistance that you regularly receive
            Include cash assistance and the value (if known) of any non-cash assistance
            that you receive, such as food stamps (benefits under the Supplemental
            Nutrition Assistance Program) or housing subsidies.
                                                                                                                       8f.                $0.00                    $0.00
            Specify:
                                                                                                                       8g.                $0.00                    $0.00
      8g. Pension or retirement income
      8h. Other monthly income. Specify:                                                                               8h.   +             $0.00       +           $0.00



 9.   Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.                                            9.                  $0.00                 $995.86

 10. Calculate monthly income. Add line 7 + line 9.
     Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse                                         10.             $3,457.86   +              $995.86        =       $4,453.72

 11. State all other regular contributions to the expenses that you list in Schedule J.
      Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
      friends or relatives.
      Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

      Specify:                                                                                                                                                          11. +             $0.00
 12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income. Write that
     amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies                                                               12.          $4,453.72
                                                                                                                                                                                 Combined
                                                                                                                                                                                 monthly income
 13. Do you expect an increase or decrease within the year after you file this form?
      ✔ No.
      ❑
      ❑Yes. Explain:

Official Form 106I                                                                                        Schedule I: Your Income                                                          page 2
 Debtor 1       Case
                  Haji19-31335-bjh7
                                Bhoy Doc 1 FiledSharif
                                                 04/17/19             Entered 04/17/19 16:06:46       Page 35 of 70
 Debtor 2            Gulbanoo          H.            Sharif                            Case number (if known)
                     First Name        Middle Name   Last Name




                                                                                                                      Amount



   5h. Other Deductions For Debtor 1
   employmentDetailsId: 13292
        Accident Insurance                                                                                               $1.96




Official Form 106I                                     Schedule I: Your Income                                            page 3
                  Case 19-31335-bjh7 Doc 1 Filed 04/17/19
 Fill in this information to identify your case:
                                                                                             Entered 04/17/19 16:06:46                   Page 36 of 70

  Debtor 1                   Haji                     Bhoy                   Sharif
                             First Name              Middle Name            Last Name                              Check if this is:
  Debtor 2                   Gulbanoo                 H.                     Sharif                                ❑An amended filing
  (Spouse, if filing)        First Name              Middle Name            Last Name                              ❑A supplement showing postpetition
                                                                                                                       chapter 13 income as of the following date:
  United States Bankruptcy Court for the:                              Northern District of Texas

  Case number                                                                                                          MM / DD / YYYY
  (if known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                                               12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, attach another sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

 Part 1: Describe Your Household

 1. Is this a joint case?

     ❑No. Go to line 2.
     ✔Yes. Does Debtor 2 live in a separate household?
     ❑
            ✔ No
            ❑
            ❑Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.
 2. Do you have dependents?                        ✔ No
                                                   ❑
     Do not list Debtor 1 and
     Debtor 2.
                                                   ❑Yes. Fill out this information for   Dependent's relationship to
                                                                                         Debtor 1 or Debtor 2
                                                                                                                              Dependent's
                                                                                                                              age
                                                                                                                                                  Does dependent live
                                                                                                                                                  with you?
                                                      each dependent...............
     Do not state the dependents' names.                                                                                                          ❑No.     ❑Yes.
                                                                                                                                                  ❑No.     ❑Yes.
                                                                                                                                                  ❑No.     ❑Yes.
                                                                                                                                                  ❑No.     ❑Yes.
                                                                                                                                                  ❑No.     ❑Yes.
 3. Do your expenses include expenses              ✔ No
                                                   ❑
    of people other than yourself and
    your dependents?
                                                   ❑Yes


 Part 2: Estimate Your Ongoing Monthly Expenses

 Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report expenses as of a date after
 the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the applicable date.

 Include expenses paid for with non-cash government assistance if you know the value of                                                    Your expenses
 such assistance and have included it on Schedule I: Your Income (Official Form 106I.)

 4. The rental or home ownership expenses for your residence. Include first mortgage payments and any rent for the
    ground or lot.                                                                                                                4.                        $651.00


     If not included in line 4:
                                                                                                                                  4a.                       $400.00
     4a. Real estate taxes
                                                                                                                                  4b.                         $0.00
     4b. Property, homeowner's, or renter's insurance
                                                                                                                                  4c.                       $200.00
     4c. Home maintenance, repair, and upkeep expenses
                                                                                                                                  4d.                         $0.00
     4d. Homeowner's association or condominium dues




Official Form 106J                                                                    Schedule J: Your Expenses                                                         page 1
 Debtor 1           Case
                      Haji19-31335-bjh7
                                    Bhoy Doc 1 FiledSharif
                                                     04/17/19                           Entered 04/17/19 16:06:46           Page 37 of 70
 Debtor 2              Gulbanoo               H.                       Sharif                                Case number (if known)
                       First Name             Middle Name               Last Name


                                                                                                                             Your expenses

 5.    Additional mortgage payments for your residence, such as home equity loans                                  5.

 6.    Utilities:

       6a. Electricity, heat, natural gas                                                                          6a.                       $250.00

       6b. Water, sewer, garbage collection                                                                        6b.                       $100.00

       6c. Telephone, cell phone, Internet, satellite, and cable services                                          6c.                       $250.00

       6d. Other. Specify:                                                                                         6d.                         $0.00

 7.    Food and housekeeping supplies                                                                              7.                        $640.00

 8.    Childcare and children’s education costs                                                                    8.                          $0.00

 9.    Clothing, laundry, and dry cleaning                                                                         9.                        $100.00

 10. Personal care products and services                                                                           10.                       $100.00

 11.   Medical and dental expenses                                                                                 11.                       $120.00

 12. Transportation. Include gas, maintenance, bus or train fare.
     Do not include car payments.                                                                                  12.                       $240.00

 13. Entertainment, clubs, recreation, newspapers, magazines, and books                                            13.                         $0.00

 14. Charitable contributions and religious donations                                                              14.                         $0.00

 15. Insurance.
       Do not include insurance deducted from your pay or included in lines 4 or 20.

                                                                                                                   15a.                  $1,275.00
       15a. Life insurance
                                                                                                                   15b.                        $0.00
       15b. Health insurance
                                                                                                                   15c.                      $125.00
       15c. Vehicle insurance
                                                                                                                   15d.                        $0.00
       15d. Other insurance. Specify:

 16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
       Specify:                                                                                                    16.                         $0.00

 17. Installment or lease payments:

       17a. Car payments for Vehicle 1                                                                             17a.

       17b. Car payments for Vehicle 2                                                                             17b.

       17c. Other. Specify:                                                                                        17c.

       17d. Other. Specify:                                                                                        17d.

 18. Your payments of alimony, maintenance, and support that you did not report as deducted
     from your pay on line 5, Schedule I, Your Income (Official Form 106I).                                        18.                         $0.00

 19. Other payments you make to support others who do not live with you.
       Specify:                                                                                                    19.                         $0.00

 20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

       20a. Mortgages on other property                                                                            20a.                        $0.00

       20b. Real estate taxes                                                                                      20b.                        $0.00

       20c. Property, homeowner’s, or renter’s insurance                                                           20c.                        $0.00
       20d. Maintenance, repair, and upkeep expenses                                                               20d.                        $0.00
       20e. Homeowner’s association or condominium dues                                                            20e.                        $0.00
Official Form 106J                                                              Schedule J: Your Expenses                                              page 2
 Debtor 1       Case
                  Haji19-31335-bjh7
                                Bhoy Doc 1 FiledSharif
                                                 04/17/19                               Entered 04/17/19 16:06:46          Page 38 of 70
 Debtor 2              Gulbanoo             H.                      Sharif                                  Case number (if known)
                       First Name           Middle Name              Last Name



 21. Other. Specify:                                                                                              21.     +              $0.00

 22. Calculate your monthly expenses.

      22a. Add lines 4 through 21.                                                                                22a.               $4,451.00

      22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                        22b.                   $0.00

      22c. Add line 22a and 22b. The result is your monthly expenses.                                             22c.               $4,451.00


 23. Calculate your monthly net income.

      23a. Copy line 12 (your combined monthly income) from Schedule I.                                           23a.               $4,453.72

      23b. Copy your monthly expenses from line 22c above.                                                        23b.    –          $4,451.00

      23c. Subtract your monthly expenses from your monthly income.
                                                                                                                  23c.                   $2.72
            The result is your monthly net income.



 24. Do you expect an increase or decrease in your expenses within the year after you file this form?

      For example, do you expect to finish paying for your car loan within the year or do you expect your
      mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

      ✔ No.
      ❑              None
      ❑Yes.




Official Form 106J                                                             Schedule J: Your Expenses                                         page 3
                    Case 19-31335-bjh7 Doc 1 Filed 04/17/19
 Fill in this information to identify your case:
                                                                                                                      Entered 04/17/19 16:06:46                                   Page 39 of 70

  Debtor 1                         Haji                           Bhoy                       Sharif
                                  First Name                    Middle Name                 Last Name

  Debtor 2                         Gulbanoo                       H.                         Sharif
  (Spouse, if filing)             First Name                    Middle Name                 Last Name

  United States Bankruptcy Court for the:                                            Northern District of Texas

  Case number                                                                                                                                                                       ❑      Check if this is an
  (if known)                                                                                                                                                                               amended filing


Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical
Information                                                                                                                                                                                                          12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Fill out all of your
schedules first; then complete the information on this form. If you are filing amended schedules after you file your original forms, you must fill out a new Summary
and check the box at the top of this page.


 Part 1: Summarize Your Assets


                                                                                                                                                                                            Your assets
                                                                                                                                                                                            Value of what you own

 1. Schedule A/B: Property (Official Form 106A/B)
    1a. Copy line 55, Total real estate, from Schedule A/B...........................................................................................................                                       $265,000.00


    1b. Copy line 62, Total personal property, from Schedule A/B................................................................................................                                            $426,820.00


    1c. Copy line 63, Total of all property on Schedule A/B...........................................................................................................                                      $691,820.00



 Part 2: Summarize Your Liabilities



                                                                                                                                                                                            Your liabilities
                                                                                                                                                                                            Amount you owe

 2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
    2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D.......                                                                                  $86,931.00

 3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
                                                                                                                                                                                                                    $0.00
    3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F......................................

    3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F.................................                                                       +              $215,249.28


                                                                                                                                                                  Your total liabilities                    $302,180.28

 Part 3: Summarize Your Income and Expenses

 4. Schedule I: Your Income (Official Form 106I)
    Copy your combined monthly income from line 12 of Schedule I..........................................................................................                                                       $4,453.72


 5. Schedule J: Your Expenses (Official Form 106J)
    Copy your monthly expenses from line 22c of Schedule J..................................................................................                                                                     $4,451.00




Official Form 106Sum                                                    Summary of Your Assets and Liabilities and Certain Statistical Information                                                                page 1 of 2
 Debtor 1        Case
                   Haji19-31335-bjh7
                                 Bhoy Doc 1 FiledSharif
                                                  04/17/19                                Entered 04/17/19 16:06:46                       Page 40 of 70
 Debtor 2             Gulbanoo               H.                       Sharif                                              Case number (if known)
                      First Name             Middle Name               Last Name



 Part 4: Answer These Questions for Administrative and Statistical Records



6. Are you filing for bankruptcy under Chapters 7, 11, or 13?
   ❑    No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
   ✔
   ❑    Yes



7. What kind of debt do you have?
   ✔
   ❑    Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
        family, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

   ❑    Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
        this form to the court with your other schedules.



8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
   Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                                                   $5,596.87




9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:


                                                                                                                       Total claim

       From Part 4 on Schedule E/F, copy the following:


    9a. Domestic support obligations (Copy line 6a.)                                                                                      $0.00



    9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                                                             $0.00



    9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                                                   $0.00



    9d. Student loans. (Copy line 6f.)                                                                                                    $0.00



    9e.Obligations arising out of a separation agreement or divorce that you did not report as priority                                   $0.00
       claims. (Copy line 6g.)



    9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)                         +                     $0.00



    9g. Total. Add lines 9a through 9f.                                                                                                  $0.00




Official Form 106Sum                                   Summary of Your Assets and Liabilities and Certain Statistical Information                            page 2 of 2
                  Case 19-31335-bjh7 Doc 1 Filed 04/17/19
 Fill in this information to identify your case:
                                                                                         Entered 04/17/19 16:06:46                     Page 41 of 70

  Debtor 1                   Haji                  Bhoy               Sharif
                             First Name            Middle Name       Last Name

  Debtor 2                   Gulbanoo              H.                 Sharif
  (Spouse, if filing)        First Name            Middle Name       Last Name

  United States Bankruptcy Court for the:                        Northern District of Texas

  Case number                                                                                                                             ❑    Check if this is an
  (if known)                                                                                                                                   amended filing


Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                                   12/15
If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or obtaining money or
property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



               Sign Below



   Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

   ✔ No
   ❑
   ❑Yes. Name of person                                                                 . Attach Bankruptcy Petition Preparer's Notice, Declaration, and Signature
                                                                                          (Official Form 119).




   Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and that they are true and correct.




   ✘ /s/ Haji Bhoy Sharif                                               ✘ /s/ Gulbanoo H. Sharif
        Haji Bhoy Sharif, Debtor 1                                             Gulbanoo H. Sharif, Debtor 2


        Date 04/17/2019                                                        Date 04/17/2019
                MM/ DD/ YYYY                                                         MM/ DD/ YYYY




Official Form 106Dec                                         Declaration About an Individual Debtor's Schedules
                  Case 19-31335-bjh7 Doc 1 Filed 04/17/19                                    Entered 04/17/19 16:06:46                Page 42 of 70
 Fill in this information to identify your case:

  Debtor 1                   Haji                  Bhoy                Sharif
                             First Name            Middle Name        Last Name

  Debtor 2                   Gulbanoo              H.                  Sharif
  (Spouse, if filing)        First Name            Middle Name        Last Name

  United States Bankruptcy Court for the:                        Northern District of Texas

  Case number                                                                                                                         ❑   Check if this is an
  (if known)                                                                                                                              amended filing


Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                            04/19
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.




 Part 1: Give Details About Your Marital Status and Where You Lived Before


  1. What is your current marital status?

    ✔ Married
    ❑
    ❑ Not married
  2. During the last 3 years, have you lived anywhere other than where you live now?

    ✔ No
    ❑
    ❑ Yes. List all of the places you lived in the last 3 years. Do not include where you live now.
      Debtor 1:                                               Dates Debtor 1 lived       Debtor 2:                                          Dates Debtor 2 lived
                                                              there                                                                         there


                                                                                       ❑ Same as Debtor 1                                  ❑ Same as Debtor 1
                                                            From                                                                          From
    Number      Street                                                                     Number     Street
                                                            To                                                                            To



    City                               State ZIP Code                                      City                      State ZIP Code




                                                                                       ❑ Same as Debtor 1                                  ❑ Same as Debtor 1
                                                            From                                                                          From
    Number      Street                                                                     Number     Street
                                                            To                                                                            To



    City                               State ZIP Code                                      City                      State ZIP Code




Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                          page 1
                 Case 19-31335-bjh7 Doc 1 Filed 04/17/19                                   Entered 04/17/19 16:06:46                        Page 43 of 70

Debtor 1            Haji                 Bhoy                     Sharif
Debtor 2            Gulbanoo             H.                       Sharif                                              Case number (if known)
                    First Name           Middle Name              Last Name



  3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory?(Community property states and territories
  include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

    ✔ No
    ❑
    ❑ Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

 Part 2: Explain the Sources of Your Income


  4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
  Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
  If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

    ❑ No
    ✔ Yes. Fill in the details.
    ❑
                                                    Debtor 1                                                    Debtor 2

                                                    Sources of income             Gross Income                  Sources of income             Gross Income
                                                    Check all that apply.         (before deductions and        Check all that apply.         (before deductions and
                                                                                  exclusions)                                                 exclusions)


    From January 1 of current year until the
                                                   ✔ Wages, commissions,
                                                   ❑                                                           ❑ Wages, commissions,
                                                       bonuses, tips                         $11,125.75            bonuses, tips
    date you filed for bankruptcy:
                                                   ❑Operating a business                                       ❑Operating a business

    For last calendar year:                        ✔ Wages, commissions,
                                                   ❑                                                           ❑ Wages, commissions,
                                                       bonuses, tips                         $72,710.22            bonuses, tips
    (January 1 to December 31, 2018         )
                                     YYYY          ❑Operating a business                                       ❑Operating a business

    For the calendar year before that:             ✔ Wages, commissions,
                                                   ❑                                                           ❑ Wages, commissions,
                                                       bonuses, tips                         $66,183.00            bonuses, tips
    (January 1 to December 31, 2017         )
                                     YYYY          ❑Operating a business                                       ❑Operating a business


  5. Did you receive any other income during this year or the two previous calendar years?
  Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment, and other public benefit
  payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery winnings. If you are filing a joint case and you
  have income that you received together, list it only once under Debtor 1.

    ❑ No
    ✔ Yes. Fill in the details.
    ❑
                                                    Debtor 1                                                    Debtor 2

                                                    Sources of income             Gross income from each        Sources of income             Gross Income from each
                                                    Describe below.               source                        Describe below.               source
                                                                                  (before deductions and                                      (before deductions and
                                                                                  exclusions)                                                 exclusions)


    From January 1 of current year until the                                                                   Social Security                             $2,163.76
    date you filed for bankruptcy:




Official Form 107                                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                                               page 2
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Debtor 1            Haji                    Bhoy                   Sharif
Debtor 2            Gulbanoo                H.                     Sharif                                                 Case number (if known)
                    First Name              Middle Name             Last Name


    For last calendar year:                                                                                       Social Security                          $16,029.00
    (January 1 to December 31, 2018          )
                                     YYYY




    For the calendar year before that:                IRA Distributions                         $117,191.00       Social Security                           $5,228.00
    (January 1 to December 31, 2017          )
                                     YYYY




 Part 3: List Certain Payments You Made Before You Filed for Bankruptcy


  6. Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?

    ❑No.       Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
               individual primarily for a personal, family, or household purpose.”
               During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,825* or more?

               ❑No. Go to line 7.
               ❑Yes. List below each creditor to whom you paid a total of $6,825* or more in one or more payments and the total amount you paid that
                          creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do not include
                          payments to an attorney for this bankruptcy case.
               * Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.


    ✔Yes.
    ❑          Debtor 1 or Debtor 2 or both have primarily consumer debts.
               During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

               ✔No. Go to line 7.
               ❑
               ❑Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not include
                          payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an attorney for
                          this bankruptcy case.

                                                              Dates of             Total amount paid            Amount you still owe        Was this payment for…
                                                              payment

                                                                                                                                          ❑Mortgage
             Creditor's Name                                                                                                              ❑Car
                                                                                                                                          ❑Credit card
             Number      Street                                                                                                           ❑Loan repayment
                                                                                                                                          ❑Suppliers or vendors
                                                                                                                                          ❑Other
             City                   State        ZIP Code




  7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
  Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations of which you are an
  officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for a business you operate as a sole
  proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and alimony.

    ✔ No
    ❑
    ❑Yes. List all payments to an insider.


Official Form 107                                     Statement of Financial Affairs for Individuals Filing for Bankruptcy                                              page 3
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Debtor 1            Haji                  Bhoy                     Sharif
Debtor 2            Gulbanoo              H.                       Sharif                                               Case number (if known)
                    First Name            Middle Name                Last Name

                                                          Dates of               Total amount paid     Amount you still owe       Reason for this payment
                                                          payment



    Insider's Name


    Number       Street




    City                         State   ZIP Code




  8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an insider?
  Include payments on debts guaranteed or cosigned by an insider.

    ✔ No
    ❑
    ❑Yes. List all payments that benefited an insider.
                                                          Dates of               Total amount paid     Amount you still owe       Reason for this payment
                                                          payment                                                                 Include creditor’s name



    Insider's Name


    Number       Street




    City                         State   ZIP Code




 Part 4: Identify Legal Actions, Repossessions, and Foreclosures


  9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
  List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications, and contract
  disputes.

    ❑No
    ✔Yes. Fill in the details.
    ❑
                                                    Nature of the case                           Court or agency                                  Status of the case


                                                                                                                                                 ✔Pending
                                                    Debt collection
    Case title       Cavalry SPV 1, LLC v. Haji
                     B. Sharif
                                                                                                Denton County Court at Law No.2                  ❑
                                                                                                                                                 ❑On appeal
                                                                                               Court Name

                                                                                                                                                 ❑Concluded
    Case number CV-2018-00520                                                                   PO BOX 2187


                                                                                               Number       Street
                                                                                                Denton, TX 76202
                                                                                               City                       State      ZIP Code




Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                  page 4
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Debtor 1            Haji                   Bhoy                   Sharif
Debtor 2            Gulbanoo               H.                     Sharif                                           Case number (if known)
                    First Name             Middle Name             Last Name



  10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
  Check all that apply and fill in the details below.

    ✔No. Go to line 11.
    ❑
    ❑Yes. Fill in the information below.
                                                                    Describe the property                                    Date            Value of the property



    Creditor’s Name


    Number      Street                                              Explain what happened

                                                                   ❑Property was repossessed.
                                                                   ❑Property was foreclosed.
                                                                   ❑Property was garnished.
    City                          State    ZIP Code                ❑Property was attached, seized, or levied.


  11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your accounts or refuse
  to make a payment because you owed a debt?

    ✔ No
    ❑
    ❑Yes. Fill in the details.
                                                           Describe the action the creditor took                        Date action was     Amount
                                                                                                                        taken
    Creditor’s Name


    Number      Street



    City                         State     ZIP Code
                                                          Last 4 digits of account number: XXXX–




  12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a court-appointed
  receiver, a custodian, or another official?

    ✔ No
    ❑
    ❑Yes

 Part 5: List Certain Gifts and Contributions


  13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

    ✔ No
    ❑
    ❑Yes. Fill in the details for each gift.




Official Form 107                                     Statement of Financial Affairs for Individuals Filing for Bankruptcy                                       page 5
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Debtor 1             Haji                   Bhoy                   Sharif
Debtor 2             Gulbanoo               H.                     Sharif                                           Case number (if known)
                     First Name             Middle Name             Last Name

     Gifts with a total value of more than $600 per         Describe the gifts                                          Dates you gave       Value
     person                                                                                                             the gifts



    Person to Whom You Gave the Gift




    Number      Street



    City                            State   ZIP Code

    Person’s relationship to you



  14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

    ✔ No
    ❑
    ❑Yes. Fill in the details for each gift or contribution.
     Gifts or contributions to charities that      Describe what you contributed                                   Date you              Value
     total more than $600                                                                                          contributed



    Charity’s Name




    Number      Street



    City                    State    ZIP Code




 Part 6: List Certain Losses


  15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster, or gambling?

    ✔ No
    ❑
    ❑Yes. Fill in the details.
     Describe the property you lost and         Describe any insurance coverage for the loss                      Date of your loss      Value of property lost
     how the loss occurred                      Include the amount that insurance has paid. List pending
                                                insurance claims on line 33 of Schedule A/B: Property.




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                         page 6
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Debtor 1            Haji                 Bhoy                    Sharif
Debtor 2            Gulbanoo             H.                      Sharif                                         Case number (if known)
                    First Name           Middle Name             Last Name
 Part 7: List Certain Payments or Transfers


  16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you consulted about
  seeking bankruptcy or preparing a bankruptcy petition?
  Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

    ❑No
    ✔Yes. Fill in the details.
    ❑
                                                 Description and value of any property transferred             Date payment or      Amount of payment
     Shuster Law, PLLC                                                                                         transfer was made
    Person Who Was Paid                         Attorney's Fee
                                                                                                              3/18/2019                         $2,000.00
     860 Hebron Pkwy 402
    Number     Street




     Lewisville, TX 75057
    City                    State   ZIP Code


    Email or website address


    Person Who Made the Payment, if Not You


                                                 Description and value of any property transferred             Date payment or      Amount of payment
     Shuster Law, PLLC                                                                                         transfer was made
    Person Who Was Paid                         Attorney’s Fee
                                                                                                              3/15/2019                             $0.00
     860 Hebron Pkwy 402
    Number     Street




     Lewisville, TX 75057
    City                    State   ZIP Code


    Email or website address


    Person Who Made the Payment, if Not You




  17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who promised to help you
  deal with your creditors or to make payments to your creditors?
  Do not include any payment or transfer that you listed on line 16.

    ✔ No
    ❑
    ❑Yes. Fill in the details.
                                                 Description and value of any property transferred             Date payment or      Amount of payment
                                                                                                               transfer was made
    Person Who Was Paid



    Number     Street




    City                    State   ZIP Code




Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                        page 7
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Debtor 1            Haji                Bhoy                    Sharif
Debtor 2            Gulbanoo            H.                      Sharif                                            Case number (if known)
                    First Name          Middle Name             Last Name



  18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property transferred in the
  ordinary course of your business or financial affairs?
  Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
  Do not include gifts and transfers that you have already listed on this statement.

    ✔ No
    ❑
    ❑Yes. Fill in the details.
                                                Description and value of property           Describe any property or payments received       Date transfer was
                                                transferred                                 or debts paid in exchange                        made

    Person Who Received Transfer


    Number     Street




    City                   State   ZIP Code

    Person's relationship to you




  19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a beneficiary?(These are
  often called asset-protection devices.)

    ✔ No
    ❑
    ❑Yes. Fill in the details.
                                               Description and value of the property transferred                                             Date transfer was
                                                                                                                                             made


    Name of trust




 Part 8: List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units


  20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed, sold, moved, or
  transferred?
  Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage houses, pension funds,
  cooperatives, associations, and other financial institutions.

    ✔ No
    ❑
    ❑Yes. Fill in the details.




Official Form 107                                 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                              page 8
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Debtor 1            Haji                 Bhoy                  Sharif
Debtor 2            Gulbanoo             H.                    Sharif                                             Case number (if known)
                    First Name           Middle Name           Last Name

                                                Last 4 digits of account number            Type of account or      Date account was          Last balance
                                                                                           instrument              closed, sold, moved, or   before closing or
                                                                                                                   transferred               transfer

    Name of Financial Institution
                                                XXXX–                                      ❑Checking
                                                                                           ❑Savings
    Number      Street
                                                                                           ❑Money market
                                                                                           ❑Brokerage
                                                                                           ❑Other
    City                   State    ZIP Code




  21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities, cash, or other
  valuables?

    ✔ No
    ❑
    ❑Yes. Fill in the details.
                                                 Who else had access to it?                       Describe the contents                      Do you still have
                                                                                                                                             it?

                                                                                                                                             ❑No
    Name of Financial Institution               Name
                                                                                                                                             ❑Yes

    Number      Street                          Number     Street



                                                City                    State   ZIP Code

    City                   State    ZIP Code



  22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

    ✔ No
    ❑
    ❑Yes. Fill in the details.
                                                 Who else has or had access to it?                Describe the contents                      Do you still have
                                                                                                                                             it?

                                                                                                                                             ❑No
    Name of Storage Facility                    Name
                                                                                                                                             ❑Yes

    Number      Street                          Number     Street



                                                City                    State   ZIP Code

    City                   State    ZIP Code




Official Form 107                                 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                           page 9
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Debtor 1            Haji                  Bhoy                     Sharif
Debtor 2            Gulbanoo              H.                       Sharif                                                Case number (if known)
                    First Name            Middle Name               Last Name
 Part 9: Identify Property You Hold or Control for Someone Else


  23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust for someone.

    ✔ No
    ❑
    ❑Yes. Fill in the details.
                                                    Where is the property?                              Describe the property                            Value


    Owner's Name
                                                   Number      Street


    Number     Street

                                                   City                        State   ZIP Code


    City                   State   ZIP Code




 Part 10: Give Details About Environmental Information


  For the purpose of Part 10, the following definitions apply:
      Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or toxic substances, wastes,
      or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or regulations controlling the cleanup of these substances,
      wastes, or material.
      Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used to own, operate, or utilize it,
      including disposal sites.
      Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance, hazardous material, pollutant,
      contaminant, or similar term.
  Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

  24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

    ✔ No
    ❑
    ❑Yes. Fill in the details.
                                                   Governmental unit                              Environmental law, if you know it                      Date of notice


    Name of site                                  Governmental unit



    Number     Street                             Number      Street


                                                  City                 State     ZIP Code


    City                   State   ZIP Code




  25. Have you notified any governmental unit of any release of hazardous material?

    ✔ No
    ❑
    ❑Yes. Fill in the details.


Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                   page 10
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Debtor 1             Haji                   Bhoy                      Sharif
Debtor 2             Gulbanoo               H.                        Sharif                                               Case number (if known)
                     First Name             Middle Name               Last Name

                                                     Governmental unit                           Environmental law, if you know it                    Date of notice


    Name of site                                    Governmental unit



    Number        Street                            Number       Street


                                                    City                  State   ZIP Code


    City                     State    ZIP Code




  26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

    ✔ No
    ❑
    ❑Yes. Fill in the details.
                                                     Court or agency                             Nature of the case                                   Status of the case


    Case title
                                                    Court Name
                                                                                                                                                    ❑Pending
                                                                                                                                                    ❑On appeal
                                                                                                                                                    ❑Concluded
                                                    Number       Street


    Case number
                                                    City                  State   ZIP Code




 Part 11: Give Details About Your Business or Connections to Any Business


  27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?

           ❑ A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
           ❑ A member of a limited liability company (LLC) or limited liability partnership (LLP)
           ❑ A partner in a partnership
           ❑ An officer, director, or managing executive of a corporation
           ❑ An owner of at least 5% of the voting or equity securities of a corporation
    ✔No. None of the above applies. Go to Part 12.
    ❑
    ❑Yes. Check all that apply above and fill in the details below for each business.
                                                      Describe the nature of the business                          Employer Identification number
                                                                                                                   Do not include Social Security number or ITIN.
    Name
                                                                                                                    EIN:          –

    Number        Street
                                                      Name of accountant or bookkeeper                             Dates business existed

                                                                                                                    From                 To

    City                     State    ZIP Code




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                            page 11
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Debtor 1            Haji                   Bhoy                       Sharif
Debtor 2            Gulbanoo               H.                         Sharif                                             Case number (if known)
                    First Name             Middle Name                Last Name



 28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial institutions, creditors,
 or other parties.

    ✔ No
    ❑
    ❑Yes. Fill in the details below.
                                                      Date issued



    Name                                             MM / DD / YYYY



    Number        Street




    City                     State   ZIP Code




 Part 12: Sign Below


 I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers are true and
 correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection with a bankruptcy case
 can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.




    ✘                         /s/ Haji Bhoy Sharif                             ✘                     /s/ Gulbanoo H. Sharif
           Signature of Haji Bhoy Sharif, Debtor 1                                Signature of Gulbanoo H. Sharif, Debtor 2


           Date 04/17/2019                                                         Date 04/17/2019




  Did you attach additional pages to your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

    ✔ No
    ❑
    ❑Yes
  Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?

    ✔ No
    ❑
                                                                                                                Attach the Bankruptcy Petition Preparer’s Notice,
    ❑Yes. Name of person                                                                                        Declaration, and Signature (Official Form 119).
                  Case 19-31335-bjh7 Doc 1 Filed 04/17/19
 Fill in this information to identify your case:
                                                                                          Entered 04/17/19 16:06:46                  Page 54 of 70

  Debtor 1                   Haji                  Bhoy               Sharif
                             First Name            Middle Name       Last Name

  Debtor 2                   Gulbanoo              H.                 Sharif
  (Spouse, if filing)        First Name            Middle Name       Last Name

  United States Bankruptcy Court for the:                        Northern District of Texas

  Case number                                                                                                                          ❑    Check if this is an
  (if known)                                                                                                                                amended filing


Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                                                      12/15
If you are an individual filing under chapter 7, you must fill out this form if:
■ creditors have claims secured by your property, or
■ you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors, whichever is earlier, unless
the court extends the time for cause. You must also send copies to the creditors and lessors you list on the form.
If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must sign and date the form.
Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known).



 Part 1: List Your Creditors Who Have Secured Claims

 1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the information below.
     Identify the creditor and the property that is collateral             What do you intend to do with the property that secures a Did you claim the property as
                                                                           debt?                                                     exempt on Schedule C?

    Creditor’s                                                             ❑ Surrender the property.                                      ❑ No
    name:                 Chase Mortgage
                                                                           ❑ Retain the property and redeem it.                           ✔ Yes
                                                                                                                                          ❑
    Description of        448 Hayden Drive Lewisville, TX 75067            ✔ Retain the property and enter into a
                                                                           ❑
    property                                                                       Reaffirmation Agreement.
    securing debt:
                                                                           ❑ Retain the property and [explain]:




Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                                               page 1
 Debtor 1       Case
                  Haji19-31335-bjh7
                                Bhoy Doc 1 FiledSharif
                                                 04/17/19                             Entered 04/17/19 16:06:46                    Page 55 of 70
 Debtor 2             Gulbanoo                 H.                  Sharif                                          Case number (if known)
                      First Name               Middle Name          Last Name


 Part 2: List Your Unexpired Personal Property Leases

 For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill in the information
 below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended. You may assume an unexpired personal
 property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

     Describe your unexpired personal property leases                                                                                Will the lease be assumed?
    Lessor’s name:                                                                                                                   ❑ No
                                                                                                                                     ❑ Yes
    Description of leased
    property:

    Lessor’s name:                                                                                                                   ❑ No
                                                                                                                                     ❑ Yes
    Description of leased
    property:

    Lessor’s name:                                                                                                                   ❑ No
                                                                                                                                     ❑ Yes
    Description of leased
    property:

    Lessor’s name:                                                                                                                   ❑ No
                                                                                                                                     ❑ Yes
    Description of leased
    property:

    Lessor’s name:                                                                                                                   ❑ No
                                                                                                                                     ❑ Yes
    Description of leased
    property:

    Lessor’s name:                                                                                                                   ❑ No
                                                                                                                                     ❑ Yes
    Description of leased
    property:

    Lessor’s name:                                                                                                                   ❑ No
                                                                                                                                     ❑ Yes
    Description of leased
    property:




 Part 3: Sign Below


   Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal property that
   is subject to an unexpired lease.



✘                       /s/ Haji Bhoy Sharif                        ✘                     /s/ Gulbanoo H. Sharif
    Signature of Debtor 1                                               Signature of Debtor 2


    Date 04/17/2019                                                     Date 04/17/2019
            MM/ DD/ YYYY                                                        MM/ DD/ YYYY




Official Form 108                                      Statement of Intention for Individuals Filing Under Chapter 7                                             page 2
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B2030 (Form 2030)(12/15)


                                                    United States Bankruptcy Court
                                                                    Northern District of Texas

In re
Sharif, Haji Bhoy                                                                                                       Case No.
Sharif, Gulbanoo H.                                                                                                     Chapter         7
Debtor(s)


                                       DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
1.   Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
     compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services
     rendered or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
            For legal services, I have agreed to accept . . . . . . . . . . . . . . . . . . . . . . . .                            $2,000.00
            Prior to the filing of this statement I have received . . . . . . . . . . . . . . . . . .                              $2,000.00
            Balance Due . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                 $0.00

2.   The source of the compensation to be paid to me was:
            ✔ Debtor
            ❑                                          ❑ Other (specify)
3.   The source of compensation to be paid to me is:
            ✔ Debtor
            ❑                                          ❑ Other (specify)
4.   ✔
     ❑   I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates
     of my law firm.

     ❑   I have agreed to share the above-disclosed compensation with another person or persons who are not members or associates
     of my law firm. A copy of the agreement, together with a list of the names of the people sharing in the compensation, is attached.

5.   In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:
     a.   Analysis of the debtor' s financial situation, and rendering advice to the debtor in determining whether to file a petition in
          bankruptcy;
     b.   Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;
     c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;

6.   By agreement with the debtor(s), the above-disclosed fee does not include the following services:




                                                                             CERTIFICATION

                           I certify that the foregoing is a complete statement of any agreement or arrangement for
                         payment to me for representation of the debtor(s) in this bankruptcy proceeding.

                         04/17/2019                                       /s/ David Shuster
                         Date                                                 Signature of Attorney

                                                                          Shuster Law, PLLC
                                                                             Name of law firm
                  Case 19-31335-bjh7 Doc 1 Filed 04/17/19
 Fill in this information to identify your case:
                                                                                             Entered 04/17/19Check
                                                                                                              16:06:46
                                                                                                                   one box onlyPage     57in of
                                                                                                                               as directed   this 70
                                                                                                                                                  form and in Form
                                                                                                                       122A-1Supp:

                                                                                                                        ❑1. There is no presumption of abuse.
  Debtor 1                   Haji                  Bhoy                 Sharif
                             First Name            Middle Name          Last Name

  Debtor 2                   Gulbanoo              H.                   Sharif                                          ✔2. The calculation to determine if a presumption of
                                                                                                                        ❑
  (Spouse, if filing)        First Name            Middle Name          Last Name                                          abuse applies will be made under Chapter 7 Means
                                                                                                                           Test Calculation (Official Form 122A-2).
  United States Bankruptcy Court for the:                        Northern District of Texas

  Case number
                                                                                                                        ❑3. The Means Test does not apply now because of
                                                                                                                           qualified military service but it could apply later.
  (if known)

                                                                                                                        ❑ Check if this is an amended filing
Official Form 122A-1
Chapter 7 Statement of Your Current Monthly Income                                                                                                                            12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more space is needed, attach a
separate sheet to this form. Include the line number to which the additional information applies. On the top of any additional pages, write your name and case
number (if known). If you believe that you are exempted from a presumption of abuse because you do not have primarily consumer debts or because of qualifying
military service, complete and file Statement of Exemption from Presumption of Abuse Under § 707(b)(2) (Official Form 122A-1Supp) with this form.

 Part 1: Calculate Your Current Monthly Income

 1.   What is your marital and filing status? Check one only.
      ❑Not married. Fill out Column A, lines 2-11.
      ✔ Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.
      ❑
      ❑ Married and your spouse is NOT filing with you. You and your spouse are:
         ✔ Living in the same household and are not legally separated. Fill out both Column A and B, lines 2-11.
         ❑
         ❑Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare under
               penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your spouse are living
               apart for reasons that do not include evading the Means Test requirements. 11 U.S.C. § 707(b)(7)(B).

        Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this bankruptcy case.11 U.S.C. §
        101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through August 31. If the amount of your monthly income varied
        during the 6 months, add the income for all 6 months and divide the total by 6. Fill in the result. Do not include any income amount more than once. For example, if
        both spouses own the same rental property, put the income from that property in one column only. If you have nothing to report for any line, write $0 in the space.
                                                                                                                   Column A               Column B
                                                                                                                   Debtor 1               Debtor 2 or
                                                                                                                                          non-filing spouse

 2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all                                        $5,596.87                         $0.00
    payroll deductions).

 3. Alimony and maintenance payments if Column B is filled in. Do not include payments from a                                 $0.00                         $0.00
    spouse.
 4. All amounts from any source which are regularly paid for household expenses of you or your
    dependents, including child support. Include regular contributions from
    an unmarried partner, members of your household, your dependents, parents, and roommates.
    Include regular contributions from a spouse only if Column B is not filled in. Do not include
    payments you listed on line 3.                                                                                            $0.00                         $0.00

 5. Net income from operating a business, profession, or
    farm                                                                 Debtor 1             Debtor 2
                                                                                 $0.00            $0.00
      Gross receipts (before all deductions)

      Ordinary and necessary operating expenses
                                                                    -            $0.00   -        $0.00

                                                                                 $0.00            $0.00   Copy
      Net monthly income from a business, profession, or farm                                                                 $0.00                         $0.00
                                                                                                          here →

 6. Net income from rental and other real property                       Debtor 1             Debtor 2
                                                                                 $0.00            $0.00
      Gross receipts (before all deductions)

      Ordinary and necessary operating expenses
                                                                    -            $0.00   -        $0.00

                                                                                 $0.00            $0.00   Copy
      Net monthly income from rental or other real property                                                                   $0.00                         $0.00
                                                                                                          here →

       7. Interest, dividends, and royalties                                                                                  $0.00                         $0.00


 Official Form 122A-1                                             Chapter 7 Statement of Your Current Monthly Income                                                          page 1
Debtor 1            Case
                      Haji19-31335-bjh7
                                    Bhoy Doc 1 FiledSharif
                                                     04/17/19                                                            Entered 04/17/19 16:06:46                              Page 58 of 70
Debtor 2                    Gulbanoo                           H.                                    Sharif                                               Case number (if known)
                            First Name                         Middle Name                               Last Name
                                                                                                                                         Column A                          Column B
                                                                                                                                         Debtor 1                          Debtor 2 or
                                                                                                                                                                           non-filing spouse
       8. Unemployment compensation                                                                                                                         $0.00                        $0.00
            Do not enter the amount if you contend that the amount received was a benefit under
           the Social Security Act. Instead, list it here: ..................................................        ↓
           For you....................................................................................                       $0.00
           For your spouse......................................................................                           $995.86
       9. Pension or retirement income. Do not include any amount received that was a benefit                                                               $0.00                        $0.00
          under the Social Security Act.

      10. Income from all other sources not listed above. Specify the source and amount.
          Do not include any benefits received under the Social Security Act or payments received
          as a victim of a war crime, a crime against humanity, or international or domestic
          terrorism. If necessary, list other sources on a separate page and put the total below.




     Total amounts from separate pages, if any.                                                                                         +                                   +
                                                                                                                                                     $5,596.87              +           $0.00    =       $5,596.87
       11. Calculate your total current monthly income. Add lines 2 through 10 for each
           column. Then add the total for Column A to the total for Column B.
                                                                                                                                                                                                      Total current
                                                                                                                                                                                                     monthly income



 Part 2: Determine Whether the Means Test Applies to You

12. Calculate your current monthly income for the year. Follow these steps:

   12a. Copy your total current monthly income from line 11....................................................................................                         Copy line 11 here →            $5,596.87

             Multiply by 12 (the number of months in a year).                                                                                                                                        X 12
   12b. The result is your annual income for this part of the form.                                                                                                                    12b.           $67,162.44

13. Calculate the median family income that applies to you. Follow these steps:
    Fill in the state in which you live.                                                   Texas

    Fill in the number of people in your household.                                    2

    Fill in the median family income for your state and size of household....................................................................................................           13.           $65,429.00
    To find a list of applicable median income amounts, go online using the link specified in the separate
    instructions for this form. This list may also be available at the bankruptcy clerk's office.
14. How do the lines compare?

   14a. ❑Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
         Go to Part 3.
        ✔Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2. Go to Part
   14b. ❑
         3 and fill out Form 122A–2.
 Part 3: Sign Below

       By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.


       X /s/ Haji Bhoy Sharif                                                                                              X /s/ Gulbanoo H. Sharif
             Signature of Debtor 1                                                                                             Signature of Debtor 2

            Date            04/17/2019                                                                                        Date          04/17/2019
                         MM/DD/YYYY                                                                                                    MM/DD/YYYY

       If you checked line 14a, do NOT fill out or file Form 122A–2.

       If you checked line 14b, fill out Form 122A–2 and file it with this form.

Official Form 122A-1                                                                            Chapter 7 Statement of Your Current Monthly Income                                                             page 2
                    Case 19-31335-bjh7 Doc 1 Filed 04/17/19                                                                       Entered 04/17/19 16:06:46      Page box
                                                                                                                                                     Check the appropriate 59asofdirected
                                                                                                                                                                                    70 in lines 40 or
 Fill in this information to identify your case:
                                                                                                                                                                42:
  Debtor 1                            Haji                               Bhoy                            Sharif
                                     First Name                         Middle Name                     Last Name
                                                                                                                                                                According to the calculations required by this
                                                                                                                                                                Statement:
  Debtor 2
  (Spouse, if filing)
                                      Gulbanoo                           H.                              Sharif
                                                                                                                                                                ✔1. There is no presumption of abuse.
                                                                                                                                                                ❑
                                     First Name                         Middle Name                     Last Name

  United States Bankruptcy Court for the:                                                       Northern District of Texas
                                                                                                                                                                ❑2. There is a presumption of abuse.
  Case number
  (if known)                                                                                                                                                    ❑Check if this is an amended filing

Official Form 122A-2
Chapter 7 Means Test Calculation                                                                                                                                                                            04/19
To fill out this form, you will need your completed copy of Chapter 7 Statement of Your Current Monthly Income (Official Form 122A-1).

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more space is needed, attach a
separate sheet to this form. Include the line number to which the additional information applies. On the top of any additional pages, write your name and case
number (if known).



 Part 1: Determine Your Adjusted Income


 1.    Copy your total current monthly income. ................................ Copy line 11 from Official From 122A-1 here →..............                                                             $5,596.87


 2.    Did you fill out Column B in Part 1 of Form 122A-1?

       ❑No. Fill in $0 for the total on line 3.
       ✔Yes. Is your spouse filing with you?
       ❑
             ❑No. Go to line 3.
             ✔Yes. Fill in $0 for the total on line 3.
             ❑

 3.   Adjust your current monthly income by subtracting any part of your spouse’s income not used to pay for the household expenses
      of you or your dependents. Follow these steps:

      On line 11, Column B of Form 122A–1, was any amount of the income you reported for your spouse NOT regularly used for the household
      expenses of you or your dependents?
       ✔ No. Fill in 0 for the total on line 3.
       ❑
       ❑Yes. Fill in the information below:

               State each purpose for which the income was used                                                                   Fill in the amount you
                                                                                                                                  are subtracting from
               For example, the income is used to pay your spouse’s tax debt or to                                                your spouse's income
               support people other than you or your dependents




                                                                                                                                  +
                                                                                                                                                                                             –               $0.00
               Total .................................................................................................                              $0.00   Copy total here.......→


 4.   Adjust your current monthly income. Subtract the total on line 3 from line 1.                                                                                                                     $5,596.87




Official Form 122A-2                                                                                                     Chapter 7 Means Test Calculation                                                    page 1
 Debtor 1           Case
                      Haji19-31335-bjh7
                                    Bhoy Doc 1 FiledSharif
                                                     04/17/19                                                             Entered 04/17/19 16:06:46                  Page 60 of 70
 Debtor 2                   Gulbanoo                        H.                                Sharif                                                Case number (if known)
                            First Name                      Middle Name                        Last Name


 Part 2: Calculate Your Deductions from Your Income


  The Internal Revenue Service (IRS) issues National and Local Standards for certain expense amounts. Use these amounts to answer the questions in lines
  6-15. To find the IRS standards, go online using the link specified in the separate instructions for this form. This information may also be available at the
  bankruptcy clerk’s office.


  Deduct the expense amounts set out in lines 6-15 regardless of your actual expense. In later parts of the form, you will use some of your actual expenses if they are higher
  than the standards. Do not deduct any amounts that you subtracted from your spouse’s income in line 3 and do not deduct any operating expenses that you subtracted from
  income in lines 5 and 6 of Form 122A–1.



  If your expenses differ from month to month, enter the average expense.



  Whenever this part of the form refers to you, it means both you and your spouse if Column B of Form 122A–1 is filled in.




   5. The number of people used in determining your deductions from income
          Fill in the number of people who could be claimed as exemptions on your federal income tax return, plus the number of
                                                                                                                                                                         2
          any additional dependents whom you support. This number may be different from the number of people in your household.




     National Standards                           You must use the IRS National Standards to answer the questions in lines 6-7.




   6. Food, clothing, and other items: Using the number of people you entered in line 5 and the IRS National Standards, fill                                                         $1,202.00
      in the dollar amount for food, clothing, and other items.



   7. Out-of-pocket health care allowance: Using the number of people you entered in line 5 and the IRS National Standards, fill in the dollar
      amount for out-of-pocket health care. The number of people is split into two categories─people who are under 65 and people who are 65 or
      older─because older people have a higher IRS allowance for health care costs. If your actual expenses are higher than this IRS amount, you
      may deduct the additional amount on line 22.




    People who are under 65 years of age

    7a. Out-of-pocket health care allowance per person                                                       $52.00
    7b. Number of people who are under 65                                                          X         1

    7c. Subtotal. Multiply line 7a by line 7b.                                                               $52.00               Copy here →         $52.00


    People who are 65 years of age or older

    7d. Out-of-pocket health care allowance per person                                                      $114.00
    7e. Number of people who are 65 or older                                                       X         1

    7f.     Subtotal. Multiply line 7d by line 7e.                                                          $114.00               Copy here →   +     $114.00



    7g. Total. Add lines 7c and 7f. .....................................................................................................           $166.00    Copy total here →      $166.00




Official Form 122A-2                                                                                       Chapter 7 Means Test Calculation                                               page 2
 Debtor 1           Case
                      Haji19-31335-bjh7
                                    Bhoy Doc 1 FiledSharif
                                                     04/17/19                                                Entered 04/17/19 16:06:46                               Page 61 of 70
 Debtor 2                 Gulbanoo                   H.                             Sharif                                                       Case number (if known)
                          First Name                  Middle Name                    Last Name




        Local Standards         You must use the IRS Local Standards to answer the questions in lines 8-15.


   Based on information from the IRS, the U.S. Trustee Program has divided the IRS Local Standard for housing for
   bankruptcy purposes into two parts:

     Housing and utilities – Insurance and operating expenses

     Housing and utilities – Mortgage or rent expenses

   To answer the questions in lines 8-9, use the U.S. Trustee Program chart. To find the chart, go online using the link
   specified in the separate instructions for this form. This chart may also be available at the bankruptcy clerk’s office.

   8.     Housing and utilities – Insurance and operating expenses: Using the number of people you entered in line 5, fill in the dollar                                             $604.00
          amount listed for your county for insurance and operating expenses...........................................................................................


   9.     Housing and utilities – Mortgage or rent expenses:
            9a. Using the number of people you entered in line 5, fill in the dollar amount listed for your                                   $1,479.00
                county for mortgage or rent expenses..................................................................

            9b. Total average monthly payment for all mortgages and other debts secured by your home.

                To calculate the total average monthly payment, add all amounts that are
                contractually due to each secured creditor in the 60 months after you file for
                bankruptcy. Then divide by 60.

                  Name of the creditor                                                     Average monthly
                                                                                           payment

                 Chase Mortgage                                                                            $651.00



                                                                                              +
                                                                                                                         Copy                                   Repeat this
                                   Total average monthly payment                                     $651.00                             –        $651.00
                                                                                                                         here →                                 amount on
                                                                                                                                                                line 33a.

          9c. Net mortgage or rent expense.

              Subtract line 9b (total average monthly payment) from line 9a (mortgage or                                                                          Copy
                                                                                                                                                   $828.00                           $828.00
              rent expense). If this amount is less than $0, enter $0.................................................                                            here →


   10. If you claim that the U.S. Trustee Program’s division of the IRS Local Standard for housing is incorrect and affects                                                            $0.00
       the calculation of your monthly expenses, fill in any additional amount you claim.
          Explain
          why:



    11.     Local transportation expenses: Check the number of vehicles for which you claim an ownership or operating expense.
            ❑    0. Go to line 14.
            ❑    1. Go to line 12.
            ✔
            ❑    2 or more. Go to line 12.


    12. Vehicle operation expense: Using the IRS Local Standards and the number of vehicles for which you claim the operating expenses, fill                                     $504.00
        in the Operating Costs that apply for your Census region or metropolitan statistical area.




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                        First Name               Middle Name                 Last Name




  13.   Vehicle ownership or lease expense: Using the IRS Local Standards, calculate the net ownership or lease expense for each vehicle below.
        You may not claim the expense if you do not make any loan or lease payments on the vehicle. In addition, you may not claim the expense for
        more than two vehicles.


            Vehicle 1      Describe Vehicle 1:



        13a. Ownership or leasing costs using IRS Local Standard.......................................

        13b. Average monthly payment for all debts secured by Vehicle 1.
              Do not include costs for leased vehicles.
              To calculate the average monthly payment here and on line 13e, add
              all amounts that are contractually due to each secured creditor in
              the 60 months after you filed for bankruptcy. Then divide by 60.

               Name of each creditor for Vehicle 1                         Average monthly
                                                                           payment



                                                                       +
                                                                                                                                  Repeat this
                                                                                                          Copy                    amount on
                                     Total average monthly payment                                        here →   –              line 33b.

        13c. Net Vehicle 1 ownership or lease expense                                                                             Copy net
                                                                                                                                  Vehicle 1
              Subtract line 13b from line 13a. If this amount is less than $0, enter $0.............
                                                                                                                                  expense
                                                                                                                                  here....→



            Vehicle 2      Describe Vehicle 2:




        13d. Ownership or leasing costs using IRS Local Standard.......................................

        13e. Average monthly payment for all debts secured by Vehicle 2.
              Do not include costs for leased vehicles.

               Name of each creditor for Vehicle 2                         Average monthly
                                                                           payment



                                                                       +
                                                                                                                                  Repeat this
                                                                                                          Copy                    amount on
                                     Total average monthly payment                                        here →   –              line 33c.

        13f. Net Vehicle 2 ownership or lease expense                                                                             Copy net
                                                                                                                                  Vehicle 2
              Subtract line 13e from 13d. If this amount is less than $0, enter $0.............
                                                                                                                                  expense
                                                                                                                                  here....→


  14.   Public transportation expense: If you claimed 0 vehicles in line 11, using the IRS Local Standards, fill in the Public Transportation expense
        allowance regardless of whether you use public transportation.


  15.   Additional public transportation expense: If you claimed 1 or more vehicles in line 11 and if you claim that you may also deduct a public        $0.00
        transportation expense, you may fill in what you believe is the appropriate expense, but you may not claim more than the IRS Local Standard
        for Public Transportation.



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   Other Necessary                In addition to the expense deductions listed above, you are allowed your monthly expenses for the
   Expenses                       following IRS categories.


 16. Taxes:                                                                                                                                                     $744.82
     The total monthly amount that you will actually owe for federal, state and local taxes, such as income taxes, selfemployment taxes, Social Security
     taxes, and Medicare taxes. You may include the monthly amount withheld from your pay for these taxes. However, if you expect to receive a tax
     refund, you must divide the expected refund by 12 and subtract that number from the total monthly amount that is withheld to pay for taxes.
     Do not include real estate, sales, or use taxes.


 17. Involuntary deductions: The total monthly payroll deductions that your job requires, such as retirement contributions, union dues, and uniform               $0.00
     costs.
      Do not include amounts that are not required by your job, such as voluntary 401(k) contributions or payroll savings.


 18. Life insurance: The total monthly premiums that you pay for your own term life insurance. If two married people are filing together, include                 $0.00
     payments that you make for your spouse’s term life insurance. Do not include premiums for life insurance on your dependents, for a non-filing
     spouse’s life insurance, or for any form of life insurance other than term.

 19. Court-ordered payments: The total monthly amount that you pay as required by the order of a court or administrative agency, such as spousal                $727.80
     or child support payments.
      Do not include payments on past due obligations for spousal or child support. You will list these obligations in line 35.


 20. Education: The total monthly amount that you pay for education that is either required:                                                                      $0.00
            as a condition for your job, or
            for your physically or mentally challenged dependent child if no public education is available for similar services.

 21. Childcare: The total monthly amount that you pay for childcare, such as babysitting, daycare, nursery, and preschool.                                        $0.00
     Do not include payments for any elementary or secondary school education.


 22. Additional health care expenses, excluding insurance costs:                                                                                                  $0.00
     The monthly amount that you pay for health care that is required for the health and welfare of you or your dependents and that is not reimbursed by
     insurance or paid by a health savings account. Include only the amount that is more than the total entered in line 7.
     Payments for health insurance or health savings accounts should be listed only in line 25.


 23. Optional telephones and telephone services: The total monthly amount that you pay for telecommunication services for you and your                     +       $0.00
     dependents, such as pagers, call waiting, caller identification, special long distance, or business cell phone service, to the extent necessary for
     your health and welfare or that of your dependents or for the production of income, if it is not reimbursed by your employer.
      Do not include payments for basic home telephone, internet and cell phone service. Do not include self-employment expenses, such as those
      reported on line 5 of Official Form 122A-1, or any amount you previously deducted.


 24. Add all of the expenses allowed under the IRS expense allowances.                                                                                         $4,776.62
     Add lines 6 through 23.




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   Additional Expense            These are additional deductions allowed by the Means Test.
   Deductions                    Note: Do not include any expense allowances listed in lines 6-24.


 25.    Health insurance, disability insurance, and health savings account expenses. The monthly expenses for health insurance, disability
        insurance, and health savings accounts that are reasonably necessary for yourself, your spouse, or your dependents.

         Health insurance                                                        $393.90
         Disability insurance                                                      $7.28
         Health savings account                                     +             $53.85
         Total                                                                   $455.03                   Copy total here → ..............................        $455.03


        Do you actually spend this total amount?

        ❑No. How much do you actually spend?
        ✔Yes
        ❑
 26.    Continuing contributions to the care of household or family members. The actual monthly expenses that you will continue to pay for the                       $0.00
        reasonable and necessary care and support of an elderly, chronically ill, or disabled member of your household or member of your immediate
        family who is unable to pay for such expenses. These expenses may include contributions to an account of a qualified ABLE program. 26
        U.S.C. § 529A(b).

 27.    Protection against family violence. The reasonably necessary monthly expenses that you incur to maintain the safety of you and your family                   $0.00
        under the Family Violence Prevention and Services Act or other federal laws that apply.
        By law, the court must keep the nature of these expenses confidential.


 28. Additional home energy costs. Your home energy costs are included in your insurance and operating expenses on line 8.
       If you believe that you have home energy costs that are more than the home energy costs included in expenses on line 8, then fill in the excess
       amount of home energy costs.                                                                                                                                  $0.00
       You must give your case trustee documentation of your actual expenses, and you must show that the additional amount claimed is reasonable and
       necessary.

 29. Education expenses for dependent children who are younger than 18. The monthly expenses (not more than $170.83* per child) that you pay                         $0.00
     for your dependent children who are younger than 18 years old to attend a private or public elementary or secondary school.
       You must give your case trustee documentation of your actual expenses, and you must explain why the amount claimed is reasonable and
       necessary and not already accounted for in lines 6-23.
       * Subject to adjustment on 4/01/22, and every 3 years after that for cases begun on or after the date of adjustment.

 30. Additional food and clothing expense. The monthly amount by which your actual food and clothing expenses are higher than the combined                           $0.00
     food and clothing allowances in the IRS National Standards. That amount cannot be more than 5% of the food and clothing allowances in the IRS
     National Standards.
       To find a chart showing the maximum additional allowance, go online using the link specified in the separate instructions for this form. This chart
       may also be available at the bankruptcy clerk’s office.
       You must show that the additional amount claimed is reasonable and necessary.

 31. Continuing charitable contributions. The amount that you will continue to contribute in the form of cash or financial instruments to a religious +              $0.00
     or charitable organization. 126 U.S.C. § 170(c)(1)-(2).
 32. Add all of the additional expense deductions.                                                                                                                 $455.03
     Add lines 25 through 31.




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  Deductions for Debt Payment


 33.    For debts that are secured by an interest in property that you own, including home mortgages, vehicle loans, and other
        secured debt, fill in lines 33a through 33e.
        To calculate the total average monthly payment, add all amounts that are contractually due to each secured creditor in the 60
        months after you file for bankruptcy. Then divide by 60.
                                                                                                                                                      Average monthly
                                                                                                                                                      payment
         Mortgages on your home

         33a. Copy line 9b here .....................................................................................................→                             $651.00

         Loans on your first two vehicles

         33b. Copy line 13b here ..................................................................................................→                                 $0.00

         33c. Copy line 13e here ..................................................................................................→                                 $0.00

         33d. List other secured debts:

            Name of each creditor for other                                 Identify property that secures the debt                      Does payment
            secured debt                                                                                                                 include taxes
                                                                                                                                         or insurance?

                                                                                                                                         ❑ No
                                                                                                                                         ❑ Yes
                                                                                                                                         ❑ No
                                                                                                                                         ❑ Yes
                                                                                                                                         ❑ No
                                                                                                                                         ❑ Yes               +
                                                                                                                                                                             Copy total
                                                                                                                                                                                           $651.00
                                                                                                                                                                 $651.00     here→
         33e. Total average monthly payment. Add lines 33a through 33d. ...................................
  34.   Are any debts that you listed in line 33 secured by your primary residence, a vehicle, or other property necessary for your support or the
        support of your dependents?

        ❑No. Go to line 35.
        ✔Yes. State any amount that you must pay to a creditor, in addition to the payments listed in line 33, to keep possession of your
        ❑
            property (called the cure amount). Next, divide by 60 and fill in the information below.

         Name of the creditor                                    Identify property that                                Total cure                     Monthly cure
                                                                 secures the debt                                      amount                         amount
                                                                                                                                          ÷ 60 =
                                                                                                                                          ÷ 60 =
                                                                                                                                          ÷ 60 =         +

                                                                                                                                              Total              $0.00       Copy total      $0.00
                                                                                                                                                                             here→
  35.   Do you owe any priority claims such as a priority tax, child support, or alimony—
        that are past due as of the filing date of your bankruptcy case? 11 U.S.C. § 507.

        ✔ No. Go to line 36.
        ❑
        ❑Yes. Fill in the total amount of all of these priority claims. Do not include current or ongoing priority claims, such as those you
                   listed in line 19.
                    Total amount of all past-due priority claims..................................................................                                           ÷ 60 ≡




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                             First Name                        Middle Name                         Last Name




 36. Are you eligible to file a case under Chapter 13? 11 U.S.C. § 109(e).
     For more information, go online using the link for Bankruptcy Basics specified in the separate
     instructions for this form. Bankruptcy Basics may also be available at the bankruptcy clerk’s office.
         ✔ No.
         ❑             Go to line 37.
         ❑Yes.         Fill in the following information.
                        Projected monthly plan payment if you were filing under Chapter 13
                        Current multiplier for your district as stated on the list issued by the
                        Administrative Office of the United States Courts (for districts in Alabama and
                        North Carolina) or by the Executive Office for United States Trustees (for all
                        other districts).                                                                                                               X

                        To find a list of district multipliers that includes your district, go online using the
                        link specified in the separate instructions for this form. This list may also be
                        available at the bankruptcy clerk’s office.
                                                                                                                                                                                                 Copy total
                        Average monthly administrative expense if you were filing under Chapter 13
                                                                                                                                                                                                 here →
 37. Add all of the deductions for debt payment.
     Add lines 33e through 36.................................................................................................................................................................                        $651.00



  Total Deductions from Income

 38. Add all of the allowed deductions.
          Copy line 24, All of the expenses allowed under IRS                                                                   $4,776.62
          expense allowances .............................................................

          Copy line 32, All of the additional expense deductions .........                                                         $455.03

          Copy line 37, All of the deductions for debt payment ..............                                  +                   $651.00

                                                                                   Total deductions                             $5,882.65              Copy total here........................... →                 $5,882.65



Part 3: Determine Whether There Is a Presumption of Abuse


 39. Calculate monthly disposable income for 60 months

           39a.       Copy line 4, adjusted current monthly income .....                                                        $5,596.87


           39b.       Copy line 38, Total deductions..........                                                –                 $5,882.65


           39c.       Monthly disposable income. 11 U.S.C. § 707(b)(2).                                                                                Copy
                                                                                                                               ($285.78)
                      Subtract line 39b from line 39a.                                                                                                 here →                              ($285.78)


                      For the next 60 months (5 years) ........................................................................................                                x 60

                                                                                                                                                                                                        Copy     ($17,146.80)
           39d.       Total. Multiply line 39c by 60. ..............................................................................................                                ($17,146.80)
                                                                                                                                                                                                        here →


 40. Find out whether there is a presumption of abuse. Check the box that applies:
         ✔ The line 39d is less than $8,175.00*. On the top of page 1 of this form, check box 1, There is no presumption of abuse. Go
         ❑
             to Part 5.

         ❑The line 39d is more than $13,650.00*. On the top of page 1 of this form, check box 2, There is a presumption of abuse. You
             may fill out Part 4 if you claim special circumstances. Then go to Part 5.

         ❑The line 39d is at least $8,175.00*, but not more than $13,650.00*. Go to line 41.
             * Subject to adjustment on 4/01/22, and every 3 years after that for cases filed on or after the date of adjustment



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 41.    41a. Fill in the amount of your total nonpriority unsecured debt. If you filled out A
             Summary of Your Assets and Liabilities and Certain Statistical Information Schedules
             (Official Form 106Sum), you may refer to line 3b on that form...........................................
                                                                                                                                       x .25
        41b. 25% of your total nonpriority unsecured debt. 11 U.S.C. § 707(b)(2)(A)(i)(I).
                                                                                                                                                       Copy
             Multiply line 41a by 0.25.
                                                                                                                                                       here →
 42. Determine whether the income you have left over after subtracting all allowed deductions
     is enough to pay 25% of your unsecured, nonpriority debt.
       Check the box that applies:

       ❑Line 39d is less than line 41b. On the top of page 1 of this form, check box 1, There is no presumption of abuse.
           Go to Part 5.

       ❑Line 39d is equal to or more than line 41b. On the top of page 1 of this form, check box 2, There is a presumption
           of abuse. You may fill out Part 4 if you claim special circumstances. Then go to Part 5.


Part 4: Give Details about Special Circumstances


43.    Do you have any special circumstances that justify additional expenses or adjustments of current monthly income for which there is no
       reasonable alternative? 11 U.S.C. § 707(b)(2)(B).

       ✔ No.
       ❑            Go to part 5.
       ❑Yes.        Fill in the following information. All figures should reflect your average monthly expense or income adjustment for each item. You may
                    include expenses you listed in line 25.


                    You must give a detailed explanation of the special circumstances that make the expenses or income adjustments necessary and
                    reasonable. You must also give your case trustee documentation of your actual expenses or income adjustments.


                       Give a detailed explanation of the special circumstances                                                     Average monthly expense
                                                                                                                                    or income adjustment




Part 5: Sign Below


           By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.




            X                              /s/ Haji Bhoy Sharif                                            X                         /s/ Gulbanoo H. Sharif
                Signature of Debtor 1                                                                           Signature of Debtor 2

                Date        04/17/2019                                                                         Date       04/17/2019
                           MM/DD/YYYY                                                                                   MM/DD/YYYY




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                                                             NORTHERN DISTRICT OF TEXAS
                                                                  DALLAS DIVISION

IN RE: Sharif, Haji Bhoy                                                                     CASE NO
       Sharif, Gulbanoo H.
                                                                                             CHAPTER 7




                                                      VERIFICATION OF CREDITOR MATRIX

  The above named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her knowledge.


Date       04/17/2019              Signature                                      /s/ Haji Bhoy Sharif
                                                                                Haji Bhoy Sharif, Debtor


Date       04/17/2019              Signature                                   /s/ Gulbanoo H. Sharif
                                                                           Gulbanoo H. Sharif, Joint Debtor
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                                 Amex
                                Correspondence/Bankruptcy
                                PO Box 981540
                                El Paso, TX 79998-1540



                                Capital One
                                Attn: Bankruptcy
                                PO Box 30285
                                Salt Lake City, UT 84130-0285



                                Cavalry Portfolio Services
                                ATTN: Bankruptcy Department 500
                                Summit Lake Ste 400
                                Valhalla, NY 10595



                                Chase Card Services
                                Attn: Bankruptcy
                                PO Box 15298
                                Wilmington, DE 19850



                                Chase Mortgage
                                Mail Code: OH4-7302
                                PO Box 24696
                                Columbus, OH 43224-0696



                                Costco Go Anywhere Citicard
                                Citicorp Credit Services/Centralized
                                Bankruptcy
                                PO Box 790040
                                St. Louis, MO 64195


                                Debt Management Servicing
                                Center-DMSC Birmingham
                                Office
                                PO Box 83079
                                Birmingham , AL 35283


                                Discover Financial
                                Attn: Bankruptcy Department
                                PO Box 15316
                                Wilmington, DE 19850-5316
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                                Frost Bank
                                Po Box 1600
                                San Antonio, TX 78296




                                Nelnet
                                Attn: Claims
                                PO Box 82505
                                Lincoln, NE 68501-2505



                                NPAS
                                PO BOX 99400
                                Louisville, KY 40269




                                Regions Bankcard
                                Attn: Bankruptcy
                                PO Box 830590
                                Birmingham, AL 35288



                                Synchrony Bank/Walmart
                                Attn: Bankruptcy
                                PO Box 965060
                                Orlando, FL 32896-5060



                                Wells Fargo Bank
                                Attn: Bankruptcy Dept
                                PO Box 6429
                                Greenville, SC 29606



                                Wells Fargo Bank Ia N
                                Attn: Bankruptcy Dept
                                PO Box 6429
                                Greenville, SC 29606
